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10                              UNITED STATES BANKRUPTCY COURT
                                WESTERN DISTRICT OF WASHINGTON
11                                         AT SEATTLE
12
      In Re:                                                      Consolidated Case No. 10-17952
13

14    CONSOLIDATED MERIDIAN FUNDS, a/k/a
      MERIDIAN INVESTORS TRUST, et al.
15
                                               Debtors.1
16
      MARK CALVERT, as Liquidating Trustee of                     Adversary No.
17    Meridian Mortgage Investor Fund I, LLC,
      Meridian Mortgage Investor Fund II, LLC,
18    Meridian Mortgage Investor Fund III, LLC,                   COMPLAINT AND JURY DEMAND
19    Meridian Mortgage Investor Fund V, LLC,
      Meridian Mortgage Investor Fund VI, LLC,
20    Meridian Mortgage Investor Fund VII, LLC,

21    1 The Debtors were Meridian Mortgage Investors Fund V, LLC (Case No. 10-17952); Meridian Mortgage

22    Investors Fund II, L.L.C. (Case No. 10-17976); Meridian Mortgage Investors Fund VII, LLC (Case No. 10-
      17953); Meridian Mortgage Investors Fund VIII, LLC (Case No. 10-17958); Meridian Mortgage Investors
      Fund VI, LLC (Case No. 10-18729); Meridian Mortgage Investors Fund IX, LLC (Case No. 10-18727);
23
      Meridian Mortgage Investors Fund X, LLC (Case No. 10-18728); Meridian Real Estate Opportunity Fund I,
24    LLC (Case No. 10-19645); Meridian Real Estate Opportunity Fund II, LLC (Case No. 10-19644); Meridian
      Mortgage Investors Fund I, L.L.C. (Case No. 11-10830); Meridian Mortgage Investors Fund III, LLC (Case
25    No. 11-10833); and MPM Investor Services Inc. (Case No. 11-10834). Together, these Debtors are referred to
      herein as the “Fund Debtors.” Pursuant to the Plan confirmation order entered on June 22, 2011, the Cases
26    have been substantively consolidated and Mark Calvert is the Liquidating Trustee.

      COMPLAINT AND JURY DEMAND - 1                                       FOSTER PEPPER PLLC
                                                                     1111 THIRD AVENUE, SUITE 3400
                                                                    SEATTLE, WASHINGTON 98101-3299
                                                                  PHONE 206-447-4400 FAX (206) 447-9700
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     Case 10-17952-TWD           Doc 705       Filed 08/29/12       Ent. 08/29/12 20:30:33          Pg. 1 of 44
1     Meridian Mortgage Investor Fund VIII, LLC,
      Meridian Mortgage Investor Fund IX, LLC,
2     Meridian Mortgage Investor Fund X, LLC, MPM
      Investor Services, Inc., Meridian Real Estate
3
      Opportunity Fund I, LLC, Meridian Real Estate
4     Opportunity Fund II, LLC, and the Liquidating
      Trust of June 21, 2011; Aaron and Suzanne Kelly;
5     Alex Cordas/Viking; Alison Kinder; Alvin
      Berman; Anne Prewett; Anne Sopher-Shapiro;
6     Barbara Thompson; Betty Treiger; Bill & Linda
7     Green Revocable Trust; Brian Lagen; Brenda
      Smith; Brett Nesland; Bruce P. and Karleen
8     Kennedy Trust; Bruce S. & Carol L. Backer; The
      Estate of Bruce Watson; Bruce Zimmerman; Carl
9     Pavelko; Carl Pavelko IRA; Carol Nelson;
      Carolyn Graves; Catherine Hansen; Charles Scott
10    Harbert; Christine Buecker; Christine Whitney;
11    Daniel Joseph Allen; David & Mary Jo Nelson;
      David Allen Hill; David Nelson; Dennis & Paula
12    Heck; Diane Lauerman; Dianne M. Fisher; Donald
      F. Berry; Doug Whittle; Doyl Burkett; Dr. Brian
13    A. & Ramona Sakamoto; Eric Jarvis; Eric Smith;
      Erik Morris; Fenton Love; Gary Stevens; Henry &
14    Charlotte Kim; Henry Waggoner; J. Greg Zoltani;
15    Jackie Gran; Jacqueline Ramsey; James A. North;
      James Claus; Jan Sobieralski & Louise
16    McNerney; Janice Miller; Jay & Lisa Clem; Jaye
      Johnson; Jeffrey Lanctot; Jeffrey Richter &
17    Kristin Trace; Jens Gran; Jette Jon Bunch; Jill
      Berman; Jo Hoffman; John & Joanne Wejak; John
18
      S. Barney; John S. Brasino; John S. & Katie M.
19    Milne; Joseph W. McNamee; Judy Meleliat; Karl
      Sandborg; Kevin Daviscourt; Kristen Jarvis;
20    Kristin Griffith; Kurt Daviscourt; Larry Berman;
      Lee Jr. Family Trust; Leif Youngberg; Leonard
21    Dietrich; Loni L. Gray Living Trust; Lori Elliot;
      Lory Lybeck; M. Eugene Miller; Manuel Rivelo
22
      Living Trust; Marc Lagen; Margo Lagen; Marika
23    Pineda; Mark Shapiro; Martin E. McQuaid; Mary
      L. Davis; Mary Moore; Mary Reilly Jensen;
24    Matthew J. & Wendy C. Costello; Michael &
25    Tonya Venneberg; Michael Nesland; Morris &
      Anita Hendrickson; Neal Baum; Nick J. & Stacie
26    L. Beck Living Trust; Pasner Family Trust;
      COMPLAINT AND JURY DEMAND - 2                               FOSTER PEPPER PLLC
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     Case 10-17952-TWD       Doc 705     Filed 08/29/12     Ent. 08/29/12 20:30:33       Pg. 2 of 44
1     Patricia Blumenthal; Patricia J. McNamee;
      Patricia Peterson; Patricia Robinson; Peter
2     Boleneus; Peter Jarvis IRA; Ray Frederick; Ray
      Hebert; Richard & Marjorie Sampson; Richard
3
      Brashen; Rick Braumoeller; Rob Chandler; Robert
4     & Mary Montgomery; Robert Montgomery IRA;
      Robert Fairbairn; Robert Friedman; Robert Stack;
5     Rothschild Revocable Living Trust; Ron
      Neubauer; Ronald C. Norris and Linda S. Talley;
6     Russ Humphrey; S. Bruce and Edith B. Tobin;
7     Sam T. & Virginia Howard; Sandra Dunn; Santos
      & Lidia Argueta; Shane McTaggart; Sharon
8     Warsinske; Shirley Peterson; Stanley M. Graves
      IRA; Stanley Zimmer; Steven & Carrie Yates;
9     Steven Sasaki; Stuart Hagen; Susan Gilleland;
      Susan-Claire Anderson Reid; Suzanne C. Johnson;
10    Talking Dreams Stable; TATS of WA, Inc.,
11    defined Pension Plan; Theodore Owen Gates;
      Timothy L. Sutherland Living Trust; Todd
12    Mueller; Victoria Littleman; William John
      Bloudek, Jr.; William G. Garrett; Adeline
13    Shannon; Al Chandler; Alan C. Stewart/Stewart
      Family Recov.; Alan D. Cornell; Alan F. Roberts
14    IRA; Alan G. Willett/Al Willett; Albert A. James
15    Living Trust; Albert W. Emonds; Alberta J.
      Fahlsing; Alden M. Garrett; Alexander Children
16    LLC; Alice Johnson Exemption Trust; Alice
      Wraith; Allen & Millicent Day; Anderson Family
17    Revocable Living Trust; Andrew L. Orton IRA;
      Andrew L. & Mary Lee Orton; Anita
18
      Hendrickson; Ann Morris & James Sobieck;
19    Annette Lave Ostergaard; Anthony & Julie
      Panagiotu; Anthony Brian Davenport; Anthony J.
20    Robins; Anthony Tamaccio & Chi Lay Bahn;
      Antonietta Galotola; Arlen Prentice; Arthel
21    Burklund; Atsuko Klein; Barbara & Pat Carey;
      Barbara A. Smith; Barbara Burns; Beth P. Carver-
22
      Kennel; Big E Construction; Bob Pappas; Bocek
23    Family LP II; Brian P. Mulligan; Brian Pearson
      IRA/Viking; Brian Yates; Bruce Guenzler & Mary
24    Heidt; C. Eric Gulotta; Camelia J. Dobrick; Caren
25    L. Toney; Carl & Karen Elliott; Carl Scott East;
      Carlos Herrera; Carole Maddock; Carolyn
26    Gaylord; Carsten & Elizabeth Henningsen;
      COMPLAINT AND JURY DEMAND - 3                               FOSTER PEPPER PLLC
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     Case 10-17952-TWD       Doc 705     Filed 08/29/12     Ent. 08/29/12 20:30:33       Pg. 3 of 44
1     Catherin Maxwell; Celia Herrera; Chad Reed;
      Charles Albright; Charles E. Jenks; Charles Flynn;
2     Charles L. LeFevre/Viking Retirement; Charles R.
      Knight; Chris Prentice; Chris Seeley; Christianson
3
      Living Trust; Christina Koons; Christopher Kane
4     Rollover IRA; Clauson Family Trust; Clifford
      (“Cliff”) & Marie Hackney; Clifford N. Harby;
5     Constance Weiss; Cornerstone Alternative Fixed
      Income Fund LP; Craig & Darla Brand; Craig A.
6     Norsen IRA; Craig Bruya; Craig R. Edwards;
7     Craig Tall; CRER Capital Holdings LLC; Crista
      Ministries; Crista Ministries Operating Acct;
8     Crista Ministries/ASAR Endowment; Crista
      Ministries/CVM Endowment; Crista
9     Ministries/SC Endowment; Crystal Mountain
      Founders Club; Cynthia S. Lair/Charles Schwab;
10    Dale & Linda Miller; Dale Knelevich; Dale L.
11    Cowles; Dan Dingfield; Dan Gatchet; Dan Rasar;
      Dana Taylor Davenport; Daniel Kearin; Daniel
12    Kearin IRA; Daniel T. & Jessie G. Hayden
      Unitrust/Crista; Darle & Patricia Blumenthal;
13    Darpat LLC; Darrin Erdahl; Daryl & Joyce Reoch;
      Dave & Karen Hobson; David & Anne Gilbert;
14    David & Barbara Rogers; David & Sonia
15    Alexander; David & Susan Stewart Family Trust;
      David A. Buecker; David A. Spencer; David
16    Alexander; David Beitel; David C.E. Williams;
      David Charles Leisy; David Graybill/David
17    Graybill IRA/Charles Schwab; David Greenheck;
      David J. Barenborg; David Lee Johnson; David
18
      M. Bray III; David M. Hyink; David Moseley;
19    David N. Chichester; David O’Hara; David
      Stempel; David Stewart/Sterling Trust Co; David
20    W. & Kortney L. Graybill; Dawn D. Tumham;
      Debbie C. Acton; Deborah & Jennifer Brehm;
21    Deborah A. Weasea; Deborah Garrett; Deborah
      Garrett 2002 Trust; Deborah M. Geffrard; Debra
22
      Blumberg; Dee Tour du Monde; Delmar & Jerry
23    Burkett; Denise C. Chandler Smith; Dennis &
      Wilma Johnson; Dennis Claus; Dennis Iverson;
24    Dennis Rossman; Dennis Weston IRA; Denny
25    Shuler; Diane Katz/Viking; Diane Stielstra/Diane
      Stielstra & Don Fry; Donald Esfeld; Donna
26    Whitney IRA; Donna Willett; Doris M. Katz
      COMPLAINT AND JURY DEMAND - 4                                FOSTER PEPPER PLLC
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     Case 10-17952-TWD        Doc 705    Filed 08/29/12      Ent. 08/29/12 20:30:33       Pg. 4 of 44
1     Credit Trust; Dorothy M. Rupert; Doyl &
      Catherine Burkett; Drew Fletcher; Drew
2     Thoresen; Dudley W. Johnson; E. Doris Gough
      Trust; Ea Lilja; Eduardo R. Garcia; Eduardo R.
3
      Garcia & Jane C. Hoerig; Edward Charles
4     Kauffman; Edward Garth; Edward J. Alto;
      Edward J. O’Toole; Edward Keven Greenfield;
5     Edward M. Hartstein; Edward R. Stanek IRA;
      Eldon Larson; Eleanor Karapetian; Elizabeth
6     Dowd; Elizabeth Hampson aka Karen E. Elmer;
7     Elizabeth Ione Newman; Elizabeth Tilbury-
      Marquard; Ellen J. Koutsky; Emma Sigmund
8     Trust; Enid R. Clauson; Erik Meltzer; Estate of
      Margaret Thoresen; Evan Smith & Barbara
9     Schechter; Evergreen Barbecue; F. Ross Boundy;
      Fairweather Lane; Floyd B. Barnes; Forrest Lee
10    Brissey; Frances Byrne; Frank M. Mercker;
11    Franklin B. Flowers; Fred & Marilee Slusser; Fred
      G. Neufeld; Fred Neufeld; Fred Wert; Frederic J.
12    Sigmund; Frederic J. Sigmund IRA/Viking;
      Frederick W. Lurmann; Garrett M. Upper; Gary
13    Galeotti IRA; Gary Galeotti Sep IRA; Gary
      Galeotti/Galeotti Living Trust; Gayle A. Murdock;
14    Gene Fetters; George E. Burt IRA; George G.
15    Toussaint; Gerald (Jerry) Hendin; Geraldine Ann
      King GST Trust; Gina Burrow; Glenn R. Holst;
16    Glenn R. Holst IRA/Equity Trust; Goldie
      Feinberg; Gordon L. Rockhill/Gordon Rockhill
17    IRA; Gordon Willett; Greg Whitney IRA; H.
      Raymond & Jina Lankford; Haley Elizabeth
18
      McCurry; Hallie S. Maxon Trust; Hanan Berman;
19    Harold & Jacklyn Vhugen; Harold E. Olsson IRA;
      Harold F. Vhugen; Harris Family Trust; Heather
20    Moynihan; Helen M. Miller; Henry Brehm IRA;
      Henry H. Happel III; Henry R.E. Spouse; Herrera
21    Environmental Consult.; Hope R. Garrett; Hyun
      Ju Low; Irwin Gruverman; Isabelle Noiret; Jack &
22
      Linda Middlebrooks; Jack Jackson aka C. Jack
23    Jackson; Jacklyn Vhugen; Jacqueline Pappas;
      James & Camelia Dobrick; James & Marianne
24    Wilkinson; James A. Tryon; James and Lisa
25    O’Neal; James C. Dobrick; James J. Casey; James
      L. & Lynne M. Addington; James L. Addington
26    IRA; James M. Becker; James M. Marquard;
      COMPLAINT AND JURY DEMAND - 5                               FOSTER PEPPER PLLC
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     Case 10-17952-TWD       Doc 705     Filed 08/29/12     Ent. 08/29/12 20:30:33       Pg. 5 of 44
1     James P. Newcomb; James Pechan; James R.
      Anderson; James R. Swanson; James Sweet; Jan
2     Diepenheim/Jan Diepenheim/Viking; Jane C.
      Hoerig; Janet M. Harding; Janet Stanton
3
      IRA/Charles Schwab; Janis Ban IRA; Jann A.
4     Curley; Jarvis Gift Trust #1/Sally B. Jarvis Family
      Gift Trust UA DTD 11/01/94; Jarvis Gift Trust
5     #2/Sally B. Jarvis Family Gift Trust #2; Jeanne
      Carlson; Jeanne Edwards; Jeanne W. Carlson;
6     Jeanelle Shields; Jeffrey Keck; Jeffrey L. &
7     Denise J. Beauchamp; Jene H. Deguchi; Jenner
      Charitable Remainder Unitrust; Jeremey & Linda
8     Mattox; Jerry R. Ronk IRA; Jerry T. Party; Jessica
      Prince; Jill A. Flynn; Jim Purdy; Jo Ann Corfman;
9     Joan L. Johnson Living Trust; Joanne E.
      Galloway Trust; Joanne Meyers IRA; Jody M.
10    Albright; Joel Korotzer; John A. McLeod; John
11    Carr; John D. Opalka; John Davids; John E.
      Pendergast; John F. & Marjorie A. Thatcher;
12    John Francis Henry Trust; John H. (Jack) &
      Patricia A Stahl; John L. Backes/Charles Schwab;
13    John L. Backes & Robin J. Roberts aka J. Backes
      & R. Roberts Revocable Trust; John Schneider;
14    John Spicer; John T. Towey; John W. Warjone;
15    John W. Young; John W. Young IRA/Charles
      Schwab; Jon F. Nordby; Jose Carrasquero; Joseph
16    L. Davis; Joseph Waskom; Judith A. Jance; Judith
      Cooper Hayden aka Judith Hadyen; Judith
17    Hughes; Judy Bledsoe Addington Credit Trust;
      Judy M. Schneider; Julie Carkin; June Burghardt;
18
      Karen Hobson IRA; Kari J. Guddal Record aka
19    Kari Record; Karleen K. Kennedy; Karyn L.
      Kelley; Katherine D. Schmidt; Katherine Leigh
20    McCurry; Katherine N. Heun; Kathleen Opler;
      Kathleen T. Snyder/Charles Schwab; Kathryn R.
21    Sigmund IRA/Viking; Kathy & Duane Timmons;
      Kathy Gerke; Kay M. Edwards; Kathy Opler;
22
      Keith Schafer; Kelley Kennedy; Kelsey M.
23    Edwards; Ken & Loretta Story; Ken B. Martin;
      Ken Story; Ken Story IRA; Kendal Martin;
24    Kenneth & Katherine Heeter; Kenneth
25    Heeter/Charles Schwab; Kenneth R. Koehler;
      Kevin & Alia Peterson; Kevin & Kathy
26    Daviscourt; Kevin & Kelley Kennedy; Kevin
      COMPLAINT AND JURY DEMAND - 6                                 FOSTER PEPPER PLLC
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     Case 10-17952-TWD        Doc 705     Filed 08/29/12      Ent. 08/29/12 20:30:33       Pg. 6 of 44
1     Gabelien; Kevin Kennedy; Kimberly Susan
      Sinfield Family Trust; Kourtney Lorriane
2     Graybill IRA/Charles Schwab; Kristin A.
      Jamerson; Kurt C. Edinger; Kyle Edwards; Lance
3
      Mueller; Lance Mueller & Assoc.; Lance Mueller
4     & Assoc. Profit Sharing Plan; Lance P Mueller
      IRA/RBC Capital Markets; Larry Culver; Larry
5     M. Jensen; Larry Stauffer; Laura L. Anderson;
      Laurie Towey; Lawrence Michael & Michael
6     Glenn; Lee A. Smith; Lee Kraft; Leslie Garrett
7     2002 Trust; Linda Breiwick; Linda D. Adams;
      Linda G. Jeans; Linda Griffin; Linda H. Preizler;
8     Lloyd A. Knight Charitable Remainder
      Unitrust/Crista; Lois Gelman/Eric Fassler; Lola A.
9     Yeend Growth Fund LLC & Lola A. Yeend Bond
      Income LLC; Loretta Kelly; Loretta Story; Loretta
10    Story IRA; Lorin J. Anderson Trust; Lynne M.
11    Addington IRA; Mahlon & Jeanne Nichols;
      Malcolm L. Edwards; Malcolm L. Edwards &
12    Elizabeth Dowd; Malmfeldt Living Trust; Marc &
      Trina LaRoche; Marc LaRoche IRA; Margaret AH
13    Siemion; Margaret Ann Ross; Margaret Tilbury;
      Margey Thoresen aka M. A. Thoresen; Marilyn H.
14    Kean; Marjorie Easley; Marjorie J. Holstege;
15    Mark & Barbara Roller; Mark & Joan Lombardi;
      Mark & Susan Blanchard; Mark B. Upson; Mark
16    Cramer; Mark Weisman IRA; Marlee Kleca;
      Marlene Winter; Martin & Susan McCurrey;
17    Martin Thomas Paul; Martyn F. Adams; Mary A.
      Sifferman; Mary Ann Gonzalez; Mary Ann
18
      Mackay; Mary Ann Moore; Mary B. Veal; Mary
19    Elizabeth Kelly; Melissa Klebanoff; Meyers
      Investment LLC; Michael & Diane Quiriconi;
20    Michael J. Sweeney & Cathleen M. Carr; Michael
      Ken Menth; Michael Krutsinger; Michael
21    Quiriconi IRA; Michael R. Oreskovich; Michael
      Rasmussen; Michael Moran; Milton & Jane
22
      Barrett; Mimi Cristall/Macho Mouse; Monica H.
23    Mackin; Monte & Nancy Szendre; Morgan G.
      Edwards; Muriel Van Housen Charitable
24    Remainder Unitrust; Nathan Benedict & Steven
25    Nyman; NCCF Support Inc/Bill Layton; Neal
      Sullins; Neville & Louella Dowell FLP; Norma
26    Barnecutt; Norma Jean Spouse; Pamela B.
      COMPLAINT AND JURY DEMAND - 7                                FOSTER PEPPER PLLC
                                                              1111 THIRD AVENUE, SUITE 3400
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     Case 10-17952-TWD       Doc 705     Filed 08/29/12      Ent. 08/29/12 20:30:33       Pg. 7 of 44
1     McCabe; Patricia A. Campbell; Patricia Anne
      Friedland/Pat Friedland; Patricia Marie Logan;
2     Patricia Sabin/Penny Sabin; Patrick J. Burns;
      Patrick Mitchell; Paul A. Nelson; Paul Fergen;
3
      Paul G. Ellingson; Paul H. Soderlund IRA; Paul
4     M. McDermott; Paul Stutesman; Paul Walker;
      Payton Smith IRA; Peter & Sandra Jouflas; Peter
5     G. Alder; Peter Garrett; Peter Langmaid/Elizabeth
      Langmaid UGMA/Jessica Langmaid UGMA/Peter
6     Langmaid & Audrey Shiffman; Peter Sutherland;
7     Phil & Anita Rockefeller; Phillip & Susan Parise;
      Philip Stielstra; Pieter & Claire Van Wingerden;
8     Poul & Joann Hansen Living Trust; Ralph B.
      Walker; Ralph R. Zeck DDS MS PS; Ray Bowen;
9     Raymond Klein; RDV Racing LLC; Richard &
      Hope Stroble; Richard & Linda Korver; Richard
10    & Susan Warsinke; Richard A. Snyder/Charles
11    Schwab; Richard B. King Exempt Trust; Richard
      D. Padrick; Richard Izmer Revocable Living
12    Trust; Richard Lawrence Johnson; Richard
      Machin; Richard Michael Creighton IRA; Richard
13    R. Radloff; Richard Ress; Richard S. Munsen Jr
      IRA; Richard W. Campbell; Richard W. Johnson
14    IRA/Sterling Trust; Richard W. Johnson Living
15    Trust; Rick & Betsy Ellingson/Rick & Mary
      Ellingson; Rita Pampanin; Robert & Catherine
16    Ferguson; Robert & Carol Grant; Robert & Karyn
      L. Kelley; Robert & Lyndi Taylor; Robert Bashor;
17    Robert Bernardo; Robert C. Abbe; Robert C.
      Wallace; Robert Dennis & Peggy Jean Turner
18
      Charitable Unitrust/Crista; Robert E. Miller;
19    Robert F. & Cynthia M. Mokos; Robert G.
      Noftsger IRA/Viking; Robert G. Noftsger
20    Roth/Viking; Robert J. & Katherine Heun Trust;
      Robert J. & Nancy Hutnik; Robert J. Gerke;
21    Robert J. Heun; Robert J. Hutnik; Robert J.
      Stanton Trust FBO James L. Stanton; Robert
22
      Jeans; Robert L. Cooper Family LLC; Robert L.
23    Hoffman; Robert Murray Darling/R. Murray
      Darling; Robert Noftsger; Robert O. Edwards
24    Trust; Robert P. & Catherine A. Betz; Robert
25    Sours; Robert Staudacher; Robert Tauscher;
      Robert Taylor IRA; Robert Wroblewski; Robin J.
26    Knepper Living Trust; Robin Knepper GST Non
      COMPLAINT AND JURY DEMAND - 8                               FOSTER PEPPER PLLC
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     Case 10-17952-TWD       Doc 705     Filed 08/29/12     Ent. 08/29/12 20:30:33       Pg. 8 of 44
1     Exempt QTIP; Rodney B. Smith & Ellen B.
      McCown; Roger K. Hammers IRA & Roth; Roger
2     L. Winter; Roland & Margaret Ross; Roland J.
      Ross IRA; Ron Buzard; Ronand Norris/Ronand
3
      Norris & Linda Talley; Ronald & Deborah Parker;
4     Ronald J. Kiracofe; Roy & Kathleen Whitman;
      Roy A. Slack MD; Ruhl Family Trust/K. Michael
5     Ruhl; Ryan Andrew McCurry; Sam & Virginia
      Howard; Samuel Selinger IRA; Sandra Alto; Sara
6     L. Schmitt; Sarah Johnson Armstrong; Scott D.
7     Murdock; Scott Jennings; Scott Silver; Seidner
      Investments LLC; Sharon Lynne Davidoff; Sheila
8     K. Striegl; Shelley Smith; Sherri Zom IRA;
      Sherrie Wilson; Shirley Iverson; Sonia Fradkin;
9     Stanek Family Trust; Stanley B. Eastberg;
      Stephanie Erdahl; Stephen P. Walker III; Stephen
10    Prentice; Stephen R. Jepson; Stephen W. Radons;
11    Steven & Evelyn Chestnut; Steven Ban; Steven P.
      Wisner; Susan A. Stewart/Sterling Trust Co;
12    Susan Ann V. Bray; Susan Melodia; Susan Stanek
      Winget Sep IRA; Suzanne Kotz; Suzanne Roberts
13    IRA; Tacor Properties LLC; Terry & Rita
      Deschenes; Terry Collier; Theodore & Nancy
14    Preg; Thomas & Cathy Friedland; Thomas B.
15    Keefer; Thomas C. Green IRA/Charles Schwab;
      Thomas C. Green MD IRA/Charles Schwab;
16    Thomas E. & LouAnn Rypka; Thomas F. Topel;
      Thomas F. Topel IRA/Charles Schwab; Thomas
17    McGreevy; Thomas O. Orvald; Thomas W. &
      Cheryl L. Merriman; Thomas W. Friedland;
18
      Thomas W. Roberts; Timothy Higgins; TJI II
19    LLC; Todd D. Silver; Tom Nickels; Tryg
      Winquist; Uri Silberstein; Vicki L. Brakke;
20    Virginia Gabelein; Vivian Wheeler; Walter &.
      Denise Smith; Warren (Terry) & Shari Hill;
21    Wilbur Schick; Wilkinson Charitable Unitrust;
      William & Wenche Riva; William E. Whitaker;
22
      William Elmer IRA/Kibble Prentice; William F.
23    Amman; William Fahlsing; William Gaylord;
      William H. Martin; William Larson; William P.
24    Wolfe; Yates Family LLC; Yates Family LP;
25    Yoko Murao; Zhanbing Wu; and, Zimmerman
      Trust/Miriam A. Zimmerman Living Trust,
26                   Plaintiffs,
      COMPLAINT AND JURY DEMAND - 9                              FOSTER PEPPER PLLC
                                                            1111 THIRD AVENUE, SUITE 3400
                                                           SEATTLE, WASHINGTON 98101-3299
                                                         PHONE 206-447-4400 FAX (206) 447-9700
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     Case 10-17952-TWD       Doc 705    Filed 08/29/12     Ent. 08/29/12 20:30:33       Pg. 9 of 44
1
                         vs.
2
      ZIONS BANCORPORATION, a Utah
3
      corporation; THE COMMERCE BANK OF
4     WASHINGTON, N.A., a federally chartered
      commercial bank,
5
                         Defendants.
6

7

8                  MARK CALVERT, as Liquidating Trustee of Meridian Mortgage Investor Fund I,

9     LLC, Meridian Mortgage Investor Fund II, LLC, Meridian Mortgage Investor Fund III, LLC,
10
      Meridian Mortgage Investor Fund V, LLC, Meridian Mortgage Investor Fund VI, LLC,
11
      Meridian Mortgage Investor Fund VII, LLC, Meridian Mortgage Investor Fund VIII, LLC,
12
      Meridian Mortgage Investor Fund IX, LLC, Meridian Mortgage Investor Fund X, LLC, MPM
13
      Investor Services, Inc., Meridian Real Estate Opportunity Fund I, LLC, Meridian Real Estate
14

15    Opportunity Fund II, LLC, and the Liquidating Trust of June 21, 2011, Aaron and Suzanne

16    Kelly, Alex Cordas/Viking, Alison Kinder, Alvin Berman, Anne Prewett, Anne Sopher-
17    Shapiro, Barbara Thompson, Betty Treiger, Bill & Linda Green Revocable Trust, Brian
18
      Lagen, Brenda Smith, Brett Nesland, Bruce P. and Karleen Kennedy Trust, Bruce S. & Carol
19
      L. Backer, The Estate of Bruce Watson, Bruce Zimmerman, Carl Pavelko, Carl Pavelko IRA,
20
      Carol Nelson, Carolyn Graves, Catherine Hansen, Charles Scott Harbert, Christine Buecker,
21

22    Christine Whitney, Daniel Joseph Allen, David & Mary Jo Nelson, David Allen Hill, David

23    Nelson, Dennis & Paula Heck, Diane Lauerman, Dianne M. Fisher, Donald F. Berry, Doug
24    Whittle, Doyl Burkett, Dr. Brian A. & Ramona Sakamoto, Eric Jarvis, Eric Smith, Erik
25
      Morris, Fenton Love, Gary Stevens, Henry & Charlotte Kim, Henry Waggoner, J. Greg
26

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1     Zoltani, Jackie Gran, Jacqueline Ramsey, James A. North, James Claus, Jan Sobieralski &

2     Louise McNerney, Janice Miller, Jay & Lisa Clem, Jaye Johnson, Jeffrey Lanctot, Jeffrey
3
      Richter & Kristin Trace, Jens Gran, Jette Jon Bunch, Jill Berman, Jo Hoffman, John & Joanne
4
      Wejak, John S. Barney, John S. Brasino, John S. & Katie M. Milne, Joseph W. McNamee,
5
      Judy Meleliat, Karl Sandborg, Kevin Daviscourt, Kristen Jarvis, Kristin Griffith, Kurt
6
      Daviscourt, Larry Berman, Lee Jr. Family Trust, Leif Youngberg, Leonard Dietrich, Loni L.
7

8     Gray Living Trust, Lori Elliot, Lory Lybeck, M. Eugene Miller, Manuel Rivelo Living Trust,

9     Marc Lagen, Margo Lagen, Marika Pineda, Mark Shapiro, Martin E. McQuaid, Mary L.
10    Davis, Mary Moore, Mary Reilly Jensen, Matthew J. & Wendy C. Costello, Michael & Tonya
11
      Venneberg, Michael Nesland, Morris & Anita Hendrickson, Neal Baum, Nick J. & Stacie L.
12
      Beck Living Trust, Pasner Family Trust, Patricia Blumenthal, Patricia J. McNamee, Patricia
13
      Peterson, Patricia Robinson, Peter Boleneus, Peter Jarvis IRA, Ray Frederick, Ray Hebert,
14

15    Richard & Marjorie Sampson, Richard Brashen, Rick Braumoeller, Rob Chandler, Robert &

16    Mary Montgomery, Robert Montgomery IRA, Robert Fairbairn, Robert Friedman, Robert

17    Stack, Rothschild Revocable Living Trust, Ron Neubauer, Ronald C. Norris and Linda S.
18    Talley, Russ Humphrey, S. Bruce and Edith B. Tobin, Sam T. & Virginia Howard, Sandra
19
      Dunn, Santos & Lidia Argueta, Shane McTaggart, Sharon Warsinske, Shirley Peterson,
20
      Stanley M. Graves IRA, Stanley Zimmer, Steven & Carrie Yates, Steven Sasaki, Stuart
21
      Hagen, Susan Gilleland, Susan-Claire Anderson Reid, Suzanne C. Johnson, Talking Dreams
22

23    Stable, TATS of WA, Inc., defined Pension Plan, Theodore Owen Gates, Timothy L.

24    Sutherland Living Trust, Todd Mueller, Victoria Littleman, William John Bloudek, Jr.,
25
      William G. Garrett, Adeline Shannon, Al Chandler, Alan C. Stewart/Stewart Family Recov.,
26

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1     Alan D. Cornell, Alan F. Roberts IRA, Alan G. Willett/Al Willett, Albert A. James Living

2     Trust, Albert W. Emonds, Alberta J. Fahlsing, Alden M. Garrett, Alexander Children LLC,
3
      Alice Johnson Exemption Trust, Alice Wraith, Allen & Millicent Day, Anderson Family
4
      Revocable Living Trust, Andrew L. Orton IRA, Andrew L. & Mary Lee Orton, Anita
5
      Hendrickson, Ann Morris & James Sobieck, Annette Lave Ostergaard, Anthony & Julie
6
      Panagiotu, Anthony Brian Davenport, Anthony J. Robins, Anthony Tamaccio & Chi Lay
7

8     Bahn, Antonietta Galotola, Arlen Prentice, Arthel Burklund, Atsuko Klein, Barbara & Pat

9     Carey, Barbara A. Smith, Barbara Burns, Beth P. Carver-Kennel, Big E Construction, Bob
10    Pappas, Bocek Family LP II, Brian P. Mulligan, Brian Pearson IRA/Viking, Brian Yates,
11
      Bruce Guenzler & Mary Heidt, C. Eric Gulotta, Camelia J. Dobrick, Caren L. Toney, Carl &
12
      Karen Elliott, Carl Scott East, Carlos Herrera, Carole Maddock, Carolyn Gaylord, Carsten &
13
      Elizabeth Henningsen, Catherin Maxwell, Celia Herrera, Chad Reed, Charles Albright,
14

15    Charles E. Jenks, Charles Flynn, Charles L. LeFevre/Viking Retirement, Charles R. Knight,

16    Chris Prentice, Chris Seeley, Christianson Living Trust, Christina Koons, Christopher Kane

17    Rollover IRA, Clauson Family Trust, Clifford (“Cliff”) & Marie Hackney, Clifford N. Harby,
18    Constance Weiss, Cornerstone Alternative Fixed Income Fund LP, Craig & Darla Brand,
19
      Craig A. Norsen IRA, Craig Bruya, Craig R. Edwards, Craig Tall, CRER Capital Holdings
20
      LLC, Crista Ministries, Crista Ministries Operating Acct, Crista Ministries/ASAR
21
      Endowment, Crista Ministries/CVM Endowment, Crista Ministries/SC Endowment, Crystal
22

23    Mountain Founders Club, Cynthia S. Lair/Charles Schwab, Dale & Linda Miller, Dale

24    Knelevich, Dale L. Cowles, Dan Dingfield, Dan Gatchet, Dan Rasar, Dana Taylor Davenport,
25
      Daniel Kearin, Daniel Kearin IRA, Daniel T. & Jessie G. Hayden Unitrust/Crista, Darle &
26

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1     Patricia Blumenthal, Darpat LLC, Darrin Erdahl, Daryl & Joyce Reoch, Dave & Karen

2     Hobson, David & Anne Gilbert, David & Barbara Rogers, David & Sonia Alexander, David
3
      & Susan Stewart Family Trust, David A. Buecker, David A. Spencer, David Alexander,
4
      David Beitel, David C.E. Williams, David Charles Leisy, David Graybill/David Graybill
5
      IRA/Charles Schwab, David Greenheck, David J. Barenborg, David Lee Johnson, David M.
6
      Bray III, David M. Hyink, David Moseley, David N. Chichester, David O’Hara, David
7

8     Stempel, David Stewart/Sterling Trust Co, David W. & Kortney L. Graybill, Dawn D.

9     Tumham, Debbie C. Acton, Deborah & Jennifer Brehm, Deborah A. Weasea, Deborah
10    Garrett, Deborah Garrett 2002 Trust, Deborah M. Geffrard, Debra Blumberg, Dee Tour du
11
      Monde, Delmar & Jerry Burkett, Denise C. Chandler Smith, Dennis & Wilma Johnson,
12
      Dennis Claus, Dennis Iverson, Dennis Rossman, Dennis Weston IRA, Denny Shuler, Diane
13
      Katz/Viking, Diane Stielstra/Diane Stielstra & Don Fry, Donald Esfeld, Donna Whitney IRA,
14

15    Donna Willett, Doris M. Katz Credit Trust, Dorothy M. Rupert, Doyl & Catherine Burkett,

16    Drew Fletcher, Drew Thoresen, Dudley W. Johnson, E. Doris Gough Trust, Ea Lilja, Eduardo

17    R. Garcia, Eduardo R. Garcia & Jane C. Hoerig, Edward Charles Kauffman, Edward Garth,
18    Edward J. Alto, Edward J. O’Toole, Edward Keven Greenfield, Edward M. Hartstein, Edward
19
      R. Stanek IRA, Eldon Larson, Eleanor Karapetian, Elizabeth Dowd, Elizabeth Hampson aka
20
      Karen E. Elmer, Elizabeth Ione Newman, Elizabeth Tilbury-Marquard, Ellen J. Koutsky,
21
      Emma Sigmund Trust, Enid R. Clauson, Erik Meltzer, Estate of Margaret Thoresen, Evan
22

23    Smith & Barbara Schechter, Evergreen Barbecue, F. Ross Boundy, Fairweather Lane, Floyd

24    B. Barnes, Forrest Lee Brissey, Frances Byrne, Frank M. Mercker, Franklin B. Flowers, Fred
25
      & Marilee Slusser, Fred G. Neufeld, Fred Neufeld, Fred Wert, Frederic J. Sigmund, Frederic
26

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1     J. Sigmund IRA/Viking, Frederick W. Lurmann, Garrett M. Upper, Gary Galeotti IRA, Gary

2     Galeotti Sep IRA, Gary Galeotti/Galeotti Living Trust, Gayle A. Murdock, Gene Fetters,
3
      George E. Burt IRA, George G. Toussaint, Gerald (Jerry) Hendin, Geraldine Ann King GST
4
      Trust, Gina Burrow, Glenn R. Holst, Glenn R. Holst IRA/Equity Trust, Goldie Feinberg,
5
      Gordon L. Rockhill/Gordon Rockhill IRA, Gordon Willett, Greg Whitney IRA, H. Raymond
6
      & Jina Lankford, Haley Elizabeth McCurry, Hallie S. Maxon Trust, Hanan Berman, Harold &
7

8     Jacklyn Vhugen, Harold E. Olsson IRA, Harold F. Vhugen, Harris Family Trust, Heather

9     Moynihan, Helen M. Miller, Henry Brehm IRA, Henry H. Happel III, Henry R.E. Spouse,
10    Herrera Environmental Consult., Hope R. Garrett, Hyun Ju Low, Irwin Gruverman, Isabelle
11
      Noiret, Jack & Linda Middlebrooks, Jack Jackson aka C. Jack Jackson, Jacklyn Vhugen,
12
      Jacqueline Pappas, James & Camelia Dobrick, James & Marianne Wilkinson, James A.
13
      Tryon, James and Lisa O’Neal, James C. Dobrick, James J. Casey, James L. & Lynne M.
14

15    Addington, James L. Addington IRA, James M. Becker, James M. Marquard, James P.

16    Newcomb, James Pechan, James R. Anderson, James R. Swanson, James Sweet, Jan

17    Diepenheim/Jan Diepenheim/Viking, Jane C. Hoerig, Janet M. Harding, Janet Stanton
18    IRA/Charles Schwab, Janis Ban IRA, Jann A. Curley, Jarvis Gift Trust #1/Sally B. Jarvis
19
      Family Gift Trust UA DTD 11/01/94, Jarvis Gift Trust #2/Sally B. Jarvis Family Gift Trust
20
      #2, Jeanne Carlson, Jeanne Edwards, Jeanne W. Carlson, Jeanelle Shields, Jeffrey Keck,
21
      Jeffrey L. & Denise J. Beauchamp, Jene H. Deguchi, Jenner Charitable Remainder Unitrust,
22

23    Jeremey & Linda Mattox, Jerry R. Ronk IRA, Jerry T. Party, Jessica Prince, Jill A. Flynn, Jim

24    Purdy, Jo Ann Corfman, Joan L. Johnson Living Trust, Joanne E. Galloway Trust, Joanne
25
      Meyers IRA, Jody M. Albright, Joel Korotzer, John A. McLeod, John Carr, John D. Opalka,
26

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1     John Davids, John E. Pendergast, John F. & Marjorie A. Thatcher, John Francis Henry

2     Trust, John H. (Jack) & Patricia A Stahl, John L. Backes/Charles Schwab, John L. Backes &
3
      Robin J. Roberts aka J. Backes & R. Roberts Revocable Trust, John Schneider, John Spicer,
4
      John T. Towey, John W. Warjone, John W. Young, John W. Young IRA/Charles Schwab,
5
      Jon F. Nordby, Jose Carrasquero, Joseph L. Davis, Joseph Waskom, Judith A. Jance, Judith
6
      Cooper Hayden aka Judith Hadyen, Judith Hughes, Judy Bledsoe Addington Credit Trust,
7

8     Judy M. Schneider, Julie Carkin, June Burghardt, Karen Hobson IRA, Kari J. Guddal

9     Record aka Kari Record, Karleen K. Kennedy, Karyn L. Kelley, Katherine D. Schmidt,
10    Katherine Leigh McCurry, Katherine N. Heun, Kathleen Opler, Kathleen T. Snyder/Charles
11
      Schwab, Kathryn R. Sigmund IRA/Viking, Kathy & Duane Timmons, Kathy Gerke, Kay M.
12
      Edwards, Kathy Opler, Keith Schafer, Kelley Kennedy, Kelsey M. Edwards, Ken & Loretta
13
      Story, Ken B. Martin, Ken Story, Ken Story IRA, Kendal Martin, Kenneth & Katherine
14

15    Heeter, Kenneth Heeter/Charles Schwab, Kenneth R. Koehler, Kevin & Alia Peterson, Kevin

16    & Kathy Daviscourt, Kevin & Kelley Kennedy, Kevin Gabelien, Kevin Kennedy, Kimberly

17    Susan Sinfield Family Trust, Kourtney Lorriane Graybill IRA/Charles Schwab, Kristin A.
18    Jamerson, Kurt C. Edinger, Kyle Edwards, Lance Mueller, Lance Mueller & Assoc., Lance
19
      Mueller & Assoc. Profit Sharing Plan, Lance P Mueller IRA/RBC Capital Markets, Larry
20
      Culver, Larry M. Jensen, Larry Stauffer, Laura L. Anderson, Laurie Towey, Lawrence
21
      Michael & Michael Glenn, Lee A. Smith, Lee Kraft, Leslie Garrett 2002 Trust, Linda
22

23    Breiwick, Linda D. Adams, Linda G. Jeans, Linda Griffin, Linda H. Preizler, Lloyd A.

24    Knight Charitable Remainder Unitrust/Crista, Lois Gelman/Eric Fassler, Lola A. Yeend
25
      Growth Fund LLC & Lola A. Yeend Bond Income LLC, Loretta Kelly, Loretta Story, Loretta
26

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1     Story IRA, Lorin J. Anderson Trust, Lynne M. Addington IRA, Mahlon & Jeanne Nichols,

2     Malcolm L. Edwards, Malcolm L. Edwards & Elizabeth Dowd, Malmfeldt Living Trust,
3
      Marc & Trina LaRoche, Marc LaRoche IRA, Margaret AH Siemion, Margaret Ann Ross,
4
      Margaret Tilbury, Margey Thoresen aka M. A. Thoresen, Marilyn H. Kean, Marjorie Easley,
5
      Marjorie J. Holstege, Mark & Barbara Roller, Mark & Joan Lombardi, Mark & Susan
6
      Blanchard, Mark B. Upson, Mark Cramer, Mark Weisman IRA, Marlee Kleca, Marlene
7

8     Winter, Martin & Susan McCurrey, Martin Thomas Paul, Martyn F. Adams, Mary A.

9     Sifferman, Mary Ann Gonzalez, Mary Ann Mackay, Mary Ann Moore, Mary B. Veal, Mary
10    Elizabeth Kelly, Melissa Klebanoff, Meyers Investment LLC, Michael & Diane Quiriconi,
11
      Michael J. Sweeney & Cathleen M. Carr, Michael Ken Menth, Michael Krutsinger, Michael
12
      Quiriconi IRA, Michael R. Oreskovich, Michael Rasmussen, Michael Moran, Milton & Jane
13
      Barrett, Mimi Cristall/Macho Mouse, Monica H. Mackin, Monte & Nancy Szendre, Morgan
14

15    G. Edwards, Muriel Van Housen Charitable Remainder Unitrust, Nathan Benedict & Steven

16    Nyman, NCCF Support Inc/Bill Layton, Neal Sullins, Neville & Louella Dowell FLP, Norma

17    Barnecutt, Norma Jean Spouse, Pamela B. McCabe, Patricia A. Campbell, Patricia Anne
18    Friedland/Pat Friedland, Patricia Marie Logan, Patricia Sabin/Penny Sabin, Patrick J. Burns,
19
      Patrick Mitchell, Paul A. Nelson, Paul Fergen, Paul G. Ellingson, Paul H. Soderlund IRA,
20
      Paul M. McDermott, Paul Stutesman, Paul Walker, Payton Smith IRA, Peter & Sandra
21
      Jouflas, Peter G. Alder, Peter Garrett, Peter Langmaid/Elizabeth Langmaid UGMA/Jessica
22

23    Langmaid UGMA/Peter Langmaid & Audrey Shiffman, Peter Sutherland, Phil & Anita

24    Rockefeller, Phillip & Susan Parise, Philip Stielstra, Pieter & Claire Van Wingerden, Poul &
25
      Joann Hansen Living Trust, Ralph B. Walker, Ralph R. Zeck DDS MS PS, Ray Bowen,
26

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1     Raymond Klein, RDV Racing LLC, Richard & Hope Stroble, Richard & Linda Korver,

2     Richard & Susan Warsinke, Richard A. Snyder/Charles Schwab, Richard B. King Exempt
3
      Trust, Richard D. Padrick, Richard Izmer Revocable Living Trust, Richard Lawrence
4
      Johnson, Richard Machin, Richard Michael Creighton IRA, Richard R. Radloff, Richard
5
      Ress, Richard S. Munsen Jr IRA, Richard W. Campbell, Richard W. Johnson IRA/Sterling
6
      Trust, Richard W. Johnson Living Trust, Rick & Betsy Ellingson/Rick & Mary Ellingson,
7

8     Rita Pampanin, Robert & Catherine Ferguson, Robert & Carol Grant, Robert & Karyn L.

9     Kelley, Robert & Lyndi Taylor, Robert Bashor, Robert Bernardo, Robert C. Abbe, Robert C.
10    Wallace, Robert Dennis & Peggy Jean Turner Charitable Unitrust/Crista, Robert E. Miller,
11
      Robert F. & Cynthia M. Mokos, Robert G. Noftsger IRA/Viking, Robert G. Noftsger
12
      Roth/Viking, Robert J. & Katherine Heun Trust, Robert J. & Nancy Hutnik, Robert J. Gerke,
13
      Robert J. Heun, Robert J. Hutnik, Robert J. Stanton Trust FBO James L. Stanton, Robert
14

15    Jeans, Robert L. Cooper Family LLC, Robert L. Hoffman, Robert Murray Darling/R. Murray

16    Darling, Robert Noftsger, Robert O. Edwards Trust, Robert P. & Catherine A. Betz, Robert

17    Sours, Robert Staudacher, Robert Tauscher, Robert Taylor IRA, Robert Wroblewski, Robin J.
18    Knepper Living Trust, Robin Knepper GST Non Exempt QTIP, Rodney B. Smith & Ellen B.
19
      McCown, Roger K. Hammers IRA & Roth, Roger L. Winter, Roland & Margaret Ross,
20
      Roland J. Ross IRA, Ron Buzard, Ronand Norris/Ronand Norris & Linda Talley, Ronald &
21
      Deborah Parker, Ronald J. Kiracofe, Roy & Kathleen Whitman, Roy A. Slack MD, Ruhl
22

23    Family Trust/K. Michael Ruhl, Ryan Andrew McCurry, Sam & Virginia Howard, Samuel

24    Selinger IRA, Sandra Alto, Sara L. Schmitt, Sarah Johnson Armstrong, Scott D. Murdock,
25
      Scott Jennings, Scott Silver, Seidner Investments LLC, Sharon Lynne Davidoff, Sheila K.
26

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1     Striegl, Shelley Smith, Sherri Zom IRA, Sherrie Wilson, Shirley Iverson, Sonia Fradkin,

2     Stanek Family Trust, Stanley B. Eastberg, Stephanie Erdahl, Stephen P. Walker III, Stephen
3
      Prentice, Stephen R. Jepson, Stephen W. Radons, Steven & Evelyn Chestnut, Steven Ban,
4
      Steven P. Wisner, Susan A. Stewart/Sterling Trust Co, Susan Ann V. Bray, Susan Melodia,
5
      Susan Stanek Winget Sep IRA, Suzanne Kotz, Suzanne Roberts IRA, Tacor Properties LLC,
6
      Terry & Rita Deschenes, Terry Collier, Theodore & Nancy Preg, Thomas & Cathy Friedland,
7

8     Thomas B. Keefer, Thomas C. Green IRA/Charles Schwab, Thomas C. Green MD

9     IRA/Charles Schwab, Thomas E. & LouAnn Rypka, Thomas F. Topel, Thomas F. Topel
10    IRA/Charles Schwab, Thomas McGreevy, Thomas O. Orvald, Thomas W. & Cheryl L.
11
      Merriman, Thomas W. Friedland, Thomas W. Roberts, Timothy Higgins, TJI II LLC, Todd
12
      D. Silver, Tom Nickels, Tryg Winquist, Uri Silberstein, Vicki L. Brakke, Virginia Gabelein,
13
      Vivian Wheeler, Walter &. Denise Smith, Warren (Terry) & Shari Hill, Wilbur Schick,
14

15    Wilkinson Charitable Unitrust, William & Wenche Riva, William E. Whitaker, William

16    Elmer IRA/Kibble Prentice, William F. Amman, William Fahlsing, William Gaylord,

17    William H. Martin, William Larson, William P. Wolfe, Yates Family LLC, Yates Family LP,
18    Yoko Murao, Zhanbing Wu, and, Zimmerman Trust/Miriam A. Zimmerman Living Trust
19
      allege as follows:
20

21

22                       I.     NATURE OF THE ADVERSARY PROCEEDING

23                 1.1   This case relates to the substantial assistance and encouragement Defendants

24    Zions Bancorporation (“Zions”) and The Commerce Bank of Washington, N.A.,
25    (“Commerce” and collectively with Zions, “Defendants”) gave Frederick Darren Berg in the
26    massive Ponzi scheme he developed and implemented through numerous investment funds
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1
      sharing the “Meridian” brand name (the “Meridian Funds”). Through the Meridian Funds
2
      Berg defrauded his investors out of $150+ million dollars, while committing a multitude of
3
      breaches of fiduciary duty.       From at least 2004, Defendants were the bankers for the
4
      Meridian Funds, for Berg personally, or for other Berg entities such as his bus company.
5
      Defendants aided and abetted Berg in carrying out the massive fraud and in breaching his
6
      fiduciary duties to investors in the Meridian Funds, including the Plaintiffs here.
7
                   1.2   Defendants (a) knew that Berg’s conduct was fraudulent and/or constituted a
8
      breach of his fiduciary duties; and (b) provided substantial assistance and/or encouragement
9
      to Berg in the achievement of his scheme to defraud and/or breach his fiduciary duties.
10
      Among other things, Defendants: (a) allowed Berg to pay personal debts, including debts
11
      related to his multi-million dollar Mercer Island, Washington home, through wire transfers
12
      directly from Meridian Fund accounts at Commerce; (b) allowed Berg to purchase luxury
13
      buses for his unrelated bus company with funds transferred directly from Meridian Fund
14
      accounts at Commerce; (c) allowed Berg to purchase luxury buses for his unrelated bus
15
      company with funds transferred indirectly from Meridian Fund accounts at Commerce
16
      through multiple same day transactions sourced through Commerce accounts and accounts
17
      of various Berg related entities; (d) allowed Berg to commingle monies between the
18
      accounts of the various Meridian Funds at Commerce; and (d) granted Berg preferential
19
      treatment in various ways, including but not limited to allowing consistent overdraft
20
      activity, extending letters of credit on terms inconsistent with Defendants’ banking policies,
21
      giving Berg letters of recommendation and/or turning a blind eye to suspicious activity
22
      within the Meridian Fund accounts.
23
                                              II.    PARTIES
24
                   2.1   Non-party Frederick Darren Berg (“Berg”) is a resident of the State of
25
26    Washington who at all relevant times maintained his principal office in Seattle and created

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1
      and was the designated manager of a series of investment funds known as Meridian
2
      Mortgage Investor Fund I, LLC; Meridian Mortgage Investor Fund II, LLC; Meridian
3
      Mortgage Investor Fund III, LLC; Meridian Mortgage Investor Fund V, LLC; Meridian
4
      Mortgage Investor Fund VI, LLC; Meridian Mortgage Investor Fund VII, LLC; Meridian
5
      Mortgage Investor Fund VIII, LLC; Meridian Mortgage Investor Fund IX, LLC; Meridian
6
      Mortgage Investor Fund X, LLC; Meridian Real Estate Opportunity Fund I, LLC; and
7
      Meridian Real Estate Opportunity Fund II, LLC (collectively referred to herein as “the
8
      Meridian Funds”); as well as MPM Investor Services, Inc. (referred to as “MPM”), which
9
      served as agent for the Meridian Funds. During 2010 and 2011, bankruptcy proceedings
10
      were commenced involving the Meridian Funds and MPM. Plaintiff Mark Calvert was
11
      appointed as the Chapter 11 Trustee of MPM and the Meridian Funds in these cases, which
12
      have been substantively consolidated under 10-17952 (“Meridian Bankruptcy Proceeding”).
13
                   2.2   The following individually named Plaintiffs invested in one or more of the
14
      Meridian Funds described herein: Aaron and Suzanne Kelly, Alex Cordas/Viking, Alison
15
      Kinder, Alvin Berman, Anne Prewett, Anne Sopher-Shapiro, Barbara Thompson, Betty
16
      Treiger, Bill & Linda Green Revocable Trust, Brian Lagen, Brenda Smith, Brett Nesland,
17
      Bruce P. and Karleen Kennedy Trust, Bruce S. & Carol L. Backer, The Estate of Bruce
18
      Watson, Bruce Zimmerman, Carl Pavelko, Carl Pavelko IRA, Carol Nelson, Carolyn
19
      Graves, Catherine Hansen, Charles Scott Harbert, Christine Buecker, Christine Whitney,
20
      Daniel Joseph Allen, David & Mary Jo Nelson, David Allen Hill, David Nelson, Dennis &
21
      Paula Heck, Diane Lauerman, Dianne M. Fisher, Donald F. Berry, Doug Whittle, Doyl
22
      Burkett, Dr. Brian A. & Ramona Sakamoto, Eric Jarvis, Eric Smith, Erik Morris, Fenton
23
      Love, Gary Stevens, Henry & Charlotte Kim, Henry Waggoner, J. Greg Zoltani, Jackie
24
      Gran, Jacqueline Ramsey, James A. North, James Claus, Jan Sobieralski & Louise
25
26    McNerney, Janice Miller, Jay & Lisa Clem, Jaye Johnson, Jeffrey Lanctot, Jeffrey Richter

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1
      & Kristin Trace, Jens Gran, Jette Jon Bunch, Jill Berman, Jo Hoffman, John & Joanne
2
      Wejak, John S. Barney, John S. Brasino, John S. & Katie M. Milne, Joseph W. McNamee,
3
      Judy Meleliat, Karl Sandborg, Kevin Daviscourt, Kristen Jarvis, Kristin Griffith, Kurt
4
      Daviscourt, Larry Berman, Lee Jr. Family Trust, Leif Youngberg, Leonard Dietrich, Loni L.
5
      Gray Living Trust, Lori Elliot, Lory Lybeck, M. Eugene Miller, Manuel Rivelo Living
6
      Trust, Marc Lagen, Margo Lagen, Marika Pineda, Mark Shapiro, Martin E. McQuaid, Mary
7
      L. Davis, Mary Moore, Mary Reilly Jensen, Matthew J. & Wendy C. Costello, Michael &
8
      Tonya Venneberg, Michael Nesland, Morris & Anita Hendrickson, Neal Baum, Nick J. &
9
      Stacie L. Beck Living Trust, Pasner Family Trust, Patricia Blumenthal, Patricia J.
10
      McNamee, Patricia Peterson, Patricia Robinson, Peter Boleneus, Peter Jarvis IRA, Ray
11
      Frederick, Ray Hebert, Richard & Marjorie Sampson, Richard Brashen, Rick Braumoeller,
12
      Rob Chandler, Robert & Mary Montgomery, Robert Montgomery IRA, Robert Fairbairn,
13
      Robert Friedman, Robert Stack, Rothschild Revocable Living Trust, Ron Neubauer, Ronald
14
      C. Norris and Linda S. Talley, Russ Humphrey, S. Bruce and Edith B. Tobin, Sam T. &
15
      Virginia Howard, Sandra Dunn, Santos & Lidia Argueta, Shane McTaggart, Sharon
16
      Warsinske, Shirley Peterson, Stanley M. Graves IRA, Stanley Zimmer, Steven & Carrie
17
      Yates, Steven Sasaki, Stuart Hagen, Susan Gilleland, Susan-Claire Anderson Reid, Suzanne
18
      C. Johnson, Talking Dreams Stable, TATS of WA, Inc., defined Pension Plan, Theodore
19
      Owen Gates, Timothy L. Sutherland Living Trust, Todd Mueller, Victoria Littleman,
20
      William John Bloudek, Jr., William G. Garrett, Adeline Shannon, Al Chandler, Alan C.
21
      Stewart/Stewart Family Recov., Alan D. Cornell, Alan F. Roberts IRA, Alan G. Willett/Al
22
      Willett, Albert A. James Living Trust, Albert W. Emonds, Alberta J. Fahlsing, Alden M.
23
      Garrett, Alexander Children LLC, Alice Johnson Exemption Trust, Alice Wraith, Allen &
24
      Millicent Day, Anderson Family Revocable Living Trust, Andrew L. Orton IRA, Andrew L.
25
26    & Mary Lee Orton, Anita Hendrickson, Ann Morris & James Sobieck, Annette Lave

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1
      Ostergaard, Anthony & Julie Panagiotu, Anthony Brian Davenport, Anthony J. Robins,
2
      Anthony Tamaccio & Chi Lay Bahn, Antonietta Galotola, Arlen Prentice, Arthel Burklund,
3
      Atsuko Klein, Barbara & Pat Carey, Barbara A. Smith, Barbara Burns, Beth P. Carver-
4
      Kennel, Big E Construction, Bob Pappas, Bocek Family LP II, Brian P. Mulligan, Brian
5
      Pearson IRA/Viking, Brian Yates, Bruce Guenzler & Mary Heidt, C. Eric Gulotta, Camelia
6
      J. Dobrick, Caren L. Toney, Carl & Karen Elliott, Carl Scott East, Carlos Herrera, Carole
7
      Maddock, Carolyn Gaylord, Carsten & Elizabeth Henningsen, Catherin Maxwell, Celia
8
      Herrera, Chad Reed, Charles Albright, Charles E. Jenks, Charles Flynn, Charles L.
9
      LeFevre/Viking Retirement, Charles R. Knight, Chris Prentice, Chris Seeley, Christianson
10
      Living Trust, Christina Koons, Christopher Kane Rollover IRA, Clauson Family Trust,
11
      Clifford (“Cliff”) & Marie Hackney, Clifford N. Harby, Constance Weiss, Cornerstone
12
      Alternative Fixed Income Fund LP, Craig & Darla Brand, Craig A. Norsen IRA, Craig
13
      Bruya, Craig R. Edwards, Craig Tall, CRER Capital Holdings LLC, Crista Ministries, Crista
14
      Ministries Operating Acct, Crista Ministries/ASAR Endowment, Crista Ministries/CVM
15
      Endowment, Crista Ministries/SC Endowment, Crystal Mountain Founders Club, Cynthia S.
16
      Lair/Charles Schwab, Dale & Linda Miller, Dale Knelevich, Dale L. Cowles, Dan
17
      Dingfield, Dan Gatchet, Dan Rasar, Dana Taylor Davenport, Daniel Kearin, Daniel Kearin
18
      IRA, Daniel T. & Jessie G. Hayden Unitrust/Crista, Darle & Patricia Blumenthal, Darpat
19
      LLC, Darrin Erdahl, Daryl & Joyce Reoch, Dave & Karen Hobson, David & Anne Gilbert,
20
      David & Barbara Rogers, David & Sonia Alexander, David & Susan Stewart Family Trust,
21
      David A. Buecker, David A. Spencer, David Alexander, David Beitel, David C.E. Williams,
22
      David Charles Leisy, David Graybill/David Graybill IRA/Charles Schwab, David
23
      Greenheck, David J. Barenborg, David Lee Johnson, David M. Bray III, David M. Hyink,
24
      David Moseley,     David N. Chichester, David O’Hara, David               Stempel, David
25
26    Stewart/Sterling Trust Co, David W. & Kortney L. Graybill, Dawn D. Tumham, Debbie C.

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1
      Acton, Deborah & Jennifer Brehm, Deborah A. Weasea, Deborah Garrett, Deborah Garrett
2
      2002 Trust, Deborah M. Geffrard, Debra Blumberg, Dee Tour du Monde, Delmar & Jerry
3
      Burkett, Denise C. Chandler Smith, Dennis & Wilma Johnson, Dennis Claus, Dennis
4
      Iverson, Dennis Rossman, Dennis Weston IRA, Denny Shuler, Diane Katz/Viking, Diane
5
      Stielstra/Diane Stielstra & Don Fry, Donald Esfeld, Donna Whitney IRA, Donna Willett,
6
      Doris M. Katz Credit Trust, Dorothy M. Rupert, Doyl & Catherine Burkett, Drew Fletcher,
7
      Drew Thoresen, Dudley W. Johnson, E. Doris Gough Trust, Ea Lilja, Eduardo R. Garcia,
8
      Eduardo R. Garcia & Jane C. Hoerig, Edward Charles Kauffman, Edward Garth, Edward J.
9
      Alto, Edward J. O’Toole, Edward Keven Greenfield, Edward M. Hartstein, Edward R.
10
      Stanek IRA, Eldon Larson, Eleanor Karapetian, Elizabeth Dowd, Elizabeth Hampson aka
11
      Karen E. Elmer, Elizabeth Ione Newman, Elizabeth Tilbury-Marquard, Ellen J. Koutsky,
12
      Emma Sigmund Trust, Enid R. Clauson, Erik Meltzer, Estate of Margaret Thoresen, Evan
13
      Smith & Barbara Schechter, Evergreen Barbeque, F. Ross Boundy, Fairweather Lane, Floyd
14
      B. Barnes, Forrest Lee Brissey, Frances Byrne, Frank M. Mercker, Franklin B. Flowers,
15
      Fred & Marilee Slusser, Fred G. Neufeld, Fred Neufeld, Fred Wert, Frederic J. Sigmund,
16
      Frederic J. Sigmund IRA/Viking, Frederick W. Lurmann, Garrett M. Upper, Gary Galeotti
17
      IRA, Gary Galeotti Sep IRA, Gary Galeotti/Galeotti Living Trust, Gayle A. Murdock, Gene
18
      Fetters, George E. Burt IRA, George G. Toussaint, Gerald (Jerry) Hendin, Geraldine Ann
19
      King GST Trust, Gina Burrow, Glenn R. Holst, Glenn R. Holst IRA/Equity Trust, Goldie
20
      Feinberg, Gordon L. Rockhill/Gordon Rockhill IRA, Gordon Willett, Greg Whitney IRA,
21
      H. Raymond & Jina Lankford, Haley Elizabeth McCurry, Hallie S. Maxon Trust, Hanan
22
      Berman, Harold & Jacklyn Vhugen, Harold E. Olsson IRA, Harold F. Vhugen, Harris
23
      Family Trust, Heather Moynihan, Helen M. Miller, Henry Brehm IRA, Henry H. Happel III,
24
      Henry R.E. Spouse, Herrera Environmental Consult., Hope R. Garrett, Hyun Ju Low, Irwin
25
26    Gruverman, Isabelle Noiret, Jack & Linda Middlebrooks, Jack Jackson aka C. Jack Jackson,

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1
      Jacklyn Vhugen, Jacqueline Pappas, James & Camelia Dobrick, James & Marianne
2
      Wilkinson, James A. Tryon, James and Lisa O’Neal, James C. Dobrick, James J. Casey,
3
      James L. & Lynne M. Addington, James L. Addington IRA, James M. Becker, James M.
4
      Marquard, James P. Newcomb, James Pechan, James R. Anderson, James R. Swanson,
5
      James Sweet, Jan Diepenheim/Jan Diepenheim/Viking, Jane C. Hoerig, Janet M. Harding,
6
      Janet Stanton IRA/Charles Schwab, Janis Ban IRA, Jann A. Curley, Jarvis Gift Trust
7
      #1/Sally B. Jarvis Family Gift Trust UA DTD 11/01/94, Jarvis Gift Trust #2/Sally B. Jarvis
8
      Family Gift Trust #2, Jeanne Carlson, Jeanne Edwards, Jeanne W. Carlson, Jeanelle Shields,
9
      Jeffrey Keck, Jeffrey L. & Denise J. Beauchamp, Jene H. Deguchi, Jenner Charitable
10
      Remainder Unitrust, Jeremey & Linda Mattox, Jerry R. Ronk IRA, Jerry T. Party, Jessica
11
      Prince, Jill A. Flynn, Jim Purdy, Jo Ann Corfman, Joan L. Johnson Living Trust, Joanne E.
12
      Galloway Trust, Joanne Meyers IRA, Jody M. Albright, Joel Korotzer, John A. McLeod,
13
      John Carr, John D. Opalka, John Davids, John E. Pendergast, John F. & Marjorie A.
14
      Thatcher,    John Francis Henry Trust, John H. (Jack) & Patricia A Stahl,           John L.
15
      Backes/Charles Schwab, John L. Backes & Robin J. Roberts aka J. Backes & R. Roberts
16
      Revocable Trust, John Schneider, John Spicer, John T. Towey, John W. Warjone, John W.
17
      Young, John W. Young IRA/Charles Schwab, Jon F. Nordby, Jose Carrasquero, Joseph L.
18
      Davis, Joseph Waskom, Judith A. Jance, Judith Cooper Hayden aka Judith Hadyen, Judith
19
      Hughes, Judy Bledsoe Addington Credit Trust, Judy M. Schneider, Julie Carkin, June
20
      Burghardt, Karen Hobson IRA, Kari J. Guddal Record aka Kari Record, Karleen K.
21
      Kennedy, Karyn L. Kelley, Katherine D. Schmidt, Katherine Leigh McCurry, Katherine
22
      N. Heun, Kathleen Opler,     Kathleen T. Snyder/Charles Schwab, Kathryn R. Sigmund
23
      IRA/Viking, Kathy & Duane Timmons, Kathy Gerke, Kay M. Edwards, Kathy Opler,
24
      Keith Schafer, Kelley Kennedy, Kelsey M. Edwards, Ken & Loretta Story, Ken B. Martin,
25
26    Ken Story, Ken Story IRA, Kendal Martin, Kenneth & Katherine Heeter,                Kenneth

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1
      Heeter/Charles Schwab, Kenneth R. Koehler, Kevin & Alia Peterson, Kevin & Kathy
2
      Daviscourt, Kevin & Kelley Kennedy, Kevin Gabelien, Kevin Kennedy, Kimberly Susan
3
      Sinfield Family Trust,   Kourtney Lorriane Graybill IRA/Charles Schwab, Kristin A.
4
      Jamerson, Kurt C. Edinger, Kyle Edwards, Lance Mueller, Lance Mueller & Assoc., Lance
5
      Mueller & Assoc. Profit Sharing Plan, Lance P Mueller IRA/RBC Capital Markets, Larry
6
      Culver, Larry M. Jensen, Larry Stauffer, Laura L. Anderson, Laurie Towey, Lawrence
7
      Michael & Michael Glenn, Lee A. Smith, Lee Kraft, Leslie Garrett 2002 Trust, Linda
8
      Breiwick, Linda D. Adams, Linda G. Jeans, Linda Griffin, Linda H. Preizler, Lloyd A.
9
      Knight Charitable Remainder Unitrust/Crista, Lois Gelman/Eric Fassler, Lola A. Yeend
10
      Growth Fund LLC & Lola A. Yeend Bond Income LLC, Loretta Kelly, Loretta Story,
11
      Loretta Story IRA, Lorin J. Anderson Trust, Lynne M. Addington IRA, Mahlon & Jeanne
12
      Nichols, Malcolm L. Edwards, Malcolm L. Edwards & Elizabeth Dowd, Malmfeldt Living
13
      Trust, Marc & Trina LaRoche, Marc LaRoche IRA, Margaret AH Siemion, Margaret Ann
14
      Ross, Margaret Tilbury, Margey Thoresen aka M. A. Thoresen, Marilyn H. Kean, Marjorie
15
      Easley, Marjorie J. Holstege, Mark & Barbara Roller, Mark & Joan Lombardi, Mark &
16
      Susan Blanchard, Mark B. Upson, Mark Cramer, Mark Weisman IRA, Marlee Kleca,
17
      Marlene Winter, Martin & Susan McCurrey, Martin Thomas Paul, Martyn F. Adams, Mary
18
      A. Sifferman, Mary Ann Gonzalez, Mary Ann Mackay, Mary Ann Moore, Mary B. Veal,
19
      Mary Elizabeth Kelly, Melissa Klebanoff, Meyers Investment LLC, Michael & Diane
20
      Quiriconi, Michael J. Sweeney & Cathleen M. Carr, Michael Ken Menth, Michael
21
      Krutsinger, Michael Quiriconi IRA, Michael R. Oreskovich, Michael Rasmussen, Michael
22
      Moran, Milton & Jane Barrett, Mimi Cristall/Macho Mouse, Monica H. Mackin, Monte &
23
      Nancy Szendre, Morgan G. Edwards, Muriel Van Housen Charitable Remainder Unitrust,
24
      Nathan Benedict & Steven Nyman, NCCF Support Inc/Bill Layton, Neal Sullins, Neville &
25
26    Louella Dowell FLP, Norma Barnecutt, Norma Jean Spouse, Pamela B. McCabe, Patricia A.

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1
      Campbell, Patricia Anne Friedland/Pat Friedland, Patricia Marie Logan, Patricia
2
      Sabin/Penny Sabin, Patrick J. Burns, Patrick Mitchell, Paul A. Nelson, Paul Fergen, Paul G.
3
      Ellingson, Paul H. Soderlund IRA, Paul M. McDermott, Paul Stutesman, Paul Walker,
4
      Payton Smith IRA, Peter & Sandra Jouflas, Peter G. Alder, Peter Garrett, Peter
5
      Langmaid/Elizabeth Langmaid UGMA/Jessica Langmaid UGMA/Peter Langmaid                       &
6
      Audrey Shiffman, Peter Sutherland, Phil & Anita Rockefeller, Phillip & Susan Parise,
7
      Philip Stielstra, Pieter & Claire Van Wingerden, Poul & Joann Hansen Living Trust, Ralph
8
      B. Walker, Ralph R. Zeck DDS MS PS, Ray Bowen, Raymond Klein, RDV Racing LLC,
9
      Richard & Hope Stroble, Richard & Linda Korver, Richard & Susan Warsinke, Richard A.
10
      Snyder/Charles Schwab, Richard B. King Exempt Trust, Richard D. Padrick, Richard Izmer
11
      Revocable Living Trust, Richard Lawrence Johnson, Richard Machin, Richard Michael
12
      Creighton IRA, Richard R. Radloff, Richard Ress, Richard S. Munsen Jr IRA, Richard W.
13
      Campbell, Richard W. Johnson IRA/Sterling Trust, Richard W. Johnson Living Trust, Rick
14
      & Betsy Ellingson/Rick & Mary Ellingson, Rita Pampanin, Robert & Catherine Ferguson,
15
      Robert & Carol Grant, Robert & Karyn L. Kelley, Robert & Lyndi Taylor, Robert Bashor,
16
      Robert Bernardo, Robert C. Abbe, Robert C. Wallace, Robert Dennis & Peggy Jean Turner
17
      Charitable Unitrust/Crista, Robert E. Miller, Robert F. & Cynthia M. Mokos, Robert G.
18
      Noftsger IRA/Viking, Robert G. Noftsger Roth/Viking, Robert J. & Katherine Heun Trust,
19
      Robert J. & Nancy Hutnik, Robert J. Gerke, Robert J. Heun, Robert J. Hutnik, Robert J.
20
      Stanton Trust FBO James L. Stanton, Robert Jeans, Robert L. Cooper Family LLC, Robert
21
      L. Hoffman, Robert Murray Darling/R. Murray Darling, Robert Noftsger, Robert O.
22
      Edwards Trust, Robert P. & Catherine A. Betz, Robert Sours, Robert Staudacher, Robert
23
      Tauscher, Robert Taylor IRA, Robert Wroblewski, Robin J. Knepper Living Trust, Robin
24
      Knepper GST Non Exempt QTIP, Rodney B. Smith & Ellen B. McCown, Roger K.
25
26    Hammers IRA & Roth, Roger L. Winter, Roland & Margaret Ross, Roland J. Ross IRA,

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1
      Ron Buzard, Ronand Norris/Ronand Norris & Linda Talley, Ronald & Deborah Parker,
2
      Ronald J. Kiracofe, Roy & Kathleen Whitman, Roy A. Slack MD, Ruhl Family Trust/K.
3
      Michael Ruhl, Ryan Andrew McCurry, Sam & Virginia Howard, Samuel Selinger IRA,
4
      Sandra Alto, Sara L. Schmitt, Sarah Johnson Armstrong, Scott D. Murdock, Scott Jennings,
5
      Scott Silver, Seidner Investments LLC, Sharon Lynne Davidoff, Sheila K. Striegl, Shelley
6
      Smith, Sherri Zom IRA, Sherrie Wilson, Shirley Iverson, Sonia Fradkin, Stanek Family
7
      Trust, Stanley B. Eastberg, Stephanie Erdahl, Stephen P. Walker III, Stephen Prentice,
8
      Stephen R. Jepson, Stephen W. Radons, Steven & Evelyn Chestnut, Steven Ban, Steven P.
9
      Wisner, Susan A. Stewart/Sterling Trust Co, Susan Ann V. Bray, Susan Melodia, Susan
10
      Stanek Winget Sep IRA, Suzanne Kotz, Suzanne Roberts IRA, Tacor Properties LLC, Terry
11
      & Rita Deschenes, Terry Collier, Theodore & Nancy Preg, Thomas & Cathy Friedland,
12
      Thomas B. Keefer, Thomas C. Green IRA/Charles Schwab, Thomas C. Green MD
13
      IRA/Charles Schwab, Thomas E. & LouAnn Rypka, Thomas F. Topel, Thomas F. Topel
14
      IRA/Charles Schwab, Thomas McGreevy, Thomas O. Orvald, Thomas W. & Cheryl L.
15
      Merriman, Thomas W. Friedland, Thomas W. Roberts, Timothy Higgins, TJI II LLC, Todd
16
      D. Silver, Tom Nickels, Tryg Winquist, Uri Silberstein, Vicki L. Brakke, Virginia Gabelein,
17
      Vivian Wheeler, Walter &. Denise Smith, Warren (Terry) & Shari Hill, Wilbur Schick,
18
      Wilkinson Charitable Unitrust, William & Wenche Riva, William E. Whitaker, William
19
      Elmer IRA/Kibble Prentice, William F. Amman, William Fahlsing, William Gaylord,
20
      William H. Martin, William Larson, William P. Wolfe, Yates Family LLC, Yates Family
21
      LP, Yoko Murao, Zhanbing Wu, and, Zimmerman Trust/Miriam A. Zimmerman Living
22
      Trust (collectively “Investors”).
23
                   2.3   On or about April 29, 2011, the “Chapter 11 Trustee’s and Official
24
      Consolidated Investors’ Committee’s Joint Plan of Liquidation for Substantively
25
26    Consolidated Debtors” (hereinafter “the Liquidation Plan”) was proposed and submitted to

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      this Court. The Liquidation Plan provided for the creation of a Liquidating Trust and the
2
      appointment of Plaintiff Mark Calvert as the Liquidating Trustee. The Liquidation Plan also
3
      provided that the claims of any person who made a loan to or investment in the Meridian
4
      Funds (hereinafter “the Individual Investors”), upon electing to accept the Liquidation Plan
5
      and participate in its benefits, transferred to the Liquidating Trust certain causes of action
6
      held by the Investors individually arising from various matters regarding MPM and the
7
      Meridian Funds, including but not limited to any causes of action against persons that enter
8
      into transaction with MPM and the Meridian Funds and persons that provided services to
9
      them, including their bankers and financial advisors (i.e. defendants herein named).
10
                   2.4   The Liquidating Trust further provides that, among other things, the
11
      Liquidating Trustee has the rights, powers, and privileges to act on behalf of the Liquidating
12
      Trust, including but not limited to exercising the right to file and prosecute all causes of
13
      action held by the Individual Investors arising from any matter regarding MPM and the
14
      Meridian Funds and transferred to the Liquidating Trust.
15
                   2.5   Investors elected to accept the Liquidation Plan, establishing the Liquidating
16
      Trust and assigning certain causes of action held by the Investors individually arising from
17
      various matters regarding the MPM and the Meridian Funds.
18
                   2.6   On or about June 21, 2011, this Court issued an “Order Confirming Chapter
19
      11 Trustee’s and Official Consolidated Investors’ Committee’s Joint Plan of Liquidation”
20
      (“the Confirmation Order”).          The Confirmation Order confirmed and approved the
21
      Liquidation Plan in its entirety, approved of the creation of the Liquidating Trust and
22
      approved the appointment of Plaintiff Mark Calvert as the Liquidating Trustee.
23
                   2.7   Plaintiff Mark Calvert, a resident of the State of Washington, as Liquidating
24
      Trustee, and based on the Liquidation Plan, Liquidating Trust and Confirmation Order,
25
26

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      brings the causes of action set forth herein on behalf of the Liquidating Trust insofar as the
2
      Liquidating Trust is the recipient of the causes of action assigned to it by the Investors.
3
                   2.8    The term “Plaintiffs,” as used in this Complaint, shall refer collectively to the
4
      Liquidating Trustee and parties described in paragraph 2.2 above.
5
                   2.9    On information and belief, Defendant Zions Bancorporation is a Utah
6
      corporation with its principal place of business in Salt Lake City, Utah. Zions Bank is
7
      publicly traded on the NASDAQ under the symbol ZIONS.
8
                   2.10   On information and belief, Defendant The Commerce Bank of Washington,
9
      N.A., is a federally charted commercial bank headquarted in Seattle, Washington.                   On
10
      information and belief, Commerce is a subsidiary of Zions.
11
                   2.11   On information and belief, Zions had a unity of interest and ownership such
12
      that there was no individuality or corporate separateness between Zions, on the one hand,
13
      and Commerce, on the other hand, and for all intents and purposes Zions dominated and
14
      controlled Commerce and failed to maintain corporate separateness. As a result, Zions was
15
      the alter ego of Commerce, and vice-versa.
16
                   2.12   On information and belief, and at all material times, Defendants were
17
      required to comply with the Bank Secrecy Act, 31 U.S.C. § 5311 et seq., which requires
18
      financial institutions to implement programs designed to detect and report suspicious
19
      activity that might indicate financial crimes, as well as other federal and state banking laws
20
      and regulations.
21

22
                                             III.    JURISDICTION
23
                   3.1    This Court has jurisdiction under 28 U.S.C. §§ 157 and 1334(b) over the
24
      subject matter of this proceeding because the claims asserted herein arise in or are related to
25
26

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1
      a case pending under the Bankruptcy Code in this Court, and, based on the Liquidation Plan,
2
      Liquidating Trust and Confirmation Order.
3
                   3.2   On information and belief, Defendants are subject to the jurisdiction of this
4
      Court by virtue of their contacts with Plaintiffs within the United States and in the State of
5
      Washington.
6
                   3.3   Regardless of whether this is a core or non-core proceeding, Plaintiffs
7
      consent to the entry of final orders and judgment by this Court. Defendants are notified that
8
      Rule 7008(a) of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”)
9
      requires Defendants to plead whether this proceeding is core or noncore and, if non-core,
10
      whether consent is given to the entry of final orders and judgment by this Court.
11
                   3.4   Pursuant to 28 U.S.C. § 1409(a), venue of this adversary proceeding in this
12
      Court is proper because the Consolidated Meridian Funds’ bankruptcy case is pending in
13
      this district. Moreover, the Liquidation Plan and Confirmation Order establish that venue is
14
      appropriate before this Court.
15

16
                                 IV.    STANDING TO PURSUE CLAIMS
17
                   4.1   The Liquidating Trustee has standing to pursue the claims set forth in this
18
      Complaint on behalf of Investors to the extent any such claims can be assigned, transferred
19
      or vested in the Liquidating Trust.
20
                   4.2   Investors have standing to pursue the claims set forth in this Complaint on
21
      behalf of themselves to the extent any such claims cannot be assigned, transferred or vested
22
      in the Liquidating Trust.
23
24
25
26

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                     V.     FACTUAL BACKGROUND COMMON TO ALL COUNTS
2
                   5.1    On information and belief, from 2001-2010, Berg created and operated the
3
      Meridian Funds purportedly for the purpose of soliciting funds from investors and investing
4
      those funds to purchase seller financed real estate contracts, real estate, mortgage backed
5
      securities and to make hard money loans. Berg raised hundreds of millions of dollars from
6
      approximately 735 investors with over 1200 individual investments between January 2001
7
      and August 2010. Plaintiffs were among those investors. Payments to investors in the
8
      Meridian Funds were purportedly to be made from the cash flows generated by borrower
9
      payments and profits generated through the sale of properties purchased by the funds. In
10
      reality, however, Berg was diverting money away from the Meridian Funds and using the
11
      money for his private purposes and personal enrichment, and making payments to investors
12
      from newly invested funds. Like all Ponzi schemes, Berg’s eventually collapsed.
13
                   5.2    Berg held the following ownership interests in the Meridian Funds:
14
                          5.2.1   a 75% interest in Meridian Mortgage Investor Fund I, II, and III;
15
                          5.2.2   a 100% interest in Meridian Mortgage Investor Fund V, VI, VII, VIII,
16
                                  IX, and X; and
17
                          5.2.3   a 100% interest in Meridian Real Estate Opportunity Fund I and II.
18
                   5.3    Berg was the designated Manager and the only sitting board member of each
19
      of the Meridian Funds. In addition, Berg was the sole owner of MPM. (MPM was formerly
20
      known as PR Investor Services and was acquired by Berg in 2007 and thereafter renamed
21
      MPM.) MPM acted as an agent for the Meridian Funds and was responsible for managing
22
      the Meridian Funds’ asset acquisitions, underwriting, closings and servicing. As Manager
23
      and sole director of the Meridian Funds and the sole owner of MPM, Berg dominated and
24
      controlled each entity individually and dominated and controlled all of the entities
25
      collectively. Berg was personally and intimately involved in the management of and actions
26

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      taken by the Meridian Funds and MPM such that the actions taken by the Meridian Funds
2
      and MPM were in truth the actions of Berg. On information and belief, Defendants knew all
3
      of these facts.
4
                   5.4   Berg solicited Plaintiffs to invest in the Meridian Funds and thereafter
5
      accepted investment funds from them while representing that the funds would be invested
6
      for Plaintiffs’ benefit. By making investments in the Meridian Funds, Plaintiffs placed trust
7
      and confidence in Berg, and relied on his trustworthiness, judgment and representations that
8
      he would select appropriate investment vehicles for their funds. Berg, by accepting the
9
      funds, was acting in the capacity of a representative and trustee in connection with the
10
      investment, use and disposition of those funds. Berg, by voluntarily accepting responsibility
11
      for the Plaintiffs’ funds, was further required to act honestly, in good faith, with loyalty and
12
      integrity and in the best interests of the Plaintiffs. On information and belief, Defendants
13
      knew all of these facts.
14
                   5.5   On information and belief, Berg, the Meridian Funds, MPM and other Berg
15
      related entities were clients of Defendants.      At least one Commerce Bank employee
16
      publically referred to Meridian as a “valued client.”       Berg had opened and maintained
17
      accounts in the name of the Meridian Funds and MPM at Commerce since at least 2004, and
18
      Defendants had pursued Berg’s business dating back to 2001. Millions of dollars belonging
19
      to investors, including Plaintiffs, flowed and were deposited into the Meridian Fund
20
      accounts at Commerce. On information and belief, Defendants knew the Meridian Funds
21
      were investment funds, knew that funds deposited into the Meridian Funds’ and MPM’s
22
      accounts were obtained from investors and were held in trust and for investors, knew the
23
      funds did not belong to Berg personally, and knew that Berg’s relationship with the
24
      investors was that of a fiduciary. On information and belief, Defendants possessed this
25
      knowledge based on at least (a) the contents of the deposit agreements with the Meridian
26

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      Funds and MPM; (b) their relationship and communications with Berg and agents of the
2
      Meridian Funds and MPM; (c) the transactions involving and movement of money among
3
      Berg, the Meridian Funds and MPM’s accounts; (d) communications with others regarding
4
      funds on deposit in these accounts; and (e) Commerce’s investment arm, Equity Trust
5
      Company, having active Subscription Agreements with the Meridian Funds for the benefit
6
      of a number of investors.
7
                   5.6   Despite their knowledge that the monies in the Meridian Fund accounts were
8
      held in trust, and despite their knowledge that Berg owed fiduciary duties to all of the
9
      investors in the Meridian Funds, Defendants:
10
                         5.6.1   Allowed Berg to pay personal debts, including debts related to his
11
                                 multi-million dollar Mercer Island home, through wire transfers
12
                                 directly from Meridian Fund accounts;
13
                         5.6.2   Allowed Berg to purchase luxury buses for his unrelated bus
14
                                 company with funds transferred directly from Meridian Fund
15
                                 accounts;
16
                         5.6.3   Allowed Berg to purchase luxury buses for his unrelated bus
17
                                 company with funds transferred indirectly from the Meridian Fund
18
                                 accounts through multiple same day transactions sourced through
19
                                 MPM and various Berg related entities;
20
                         5.6.4   Allowed Berg to commingle monies between the accounts of the
21
                                 various Meridian Funds; and
22
                         5.6.5   Granted Berg preferential treatment in various ways, including but
23
                                 not limited to allowing consistent overdraft activity and waiving
24
                                 overdraft fees, extending letters of credit on terms inconsistent with
25
26

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                                 bank policy, and failing to follow up on suspicious activity within the
2
                                 accounts.
3
                   5.7   By way of non-exclusive example only, Defendants, despite their knowledge
4
      of Berg’s fiduciary duties and the custodial nature of the Meridian Fund accounts, permitted
5
      the following banking transactions:
6
                         5.7.1   On or about December 22, 2006, at Berg’s direction, Defendants
7
                                 transferred $1,025,000 from an account for Meridian Fund 6, number
8
                                 ****2898 to the account for Berg’s bus company, number ****3711,
9
                                 and then made a $893,514 transfer out of the account for Berg’s bus
10
                                 company that same day.
11
                         5.7.2   On or about April 23, 2007, at Berg’s direction, Defendants
12
                                 transferred $775,000 from Meridian Fund accounts (consisting of
13
                                 $400,000 from an account for Meridian Fund 5, number ****4380
14
                                 and $375,000 from an account for Meridian Fund 7), to an MPM
15
                                 account, number ****2804.       That same day, at Berg’s direction,
16
                                 Defendants transferred the $775,000 to Berg’s personal account,
17
                                 number ****9601. Then, also on that same day, at Berg’s direction
18
                                 Defendants transferred $575,000 from Berg’s personal account,
19
                                 number ****9601 to an account for Berg’s bus company, number
20
                                 ****37111 and then made a $517,800 wire transfer from the account
21
                                 for the bus company.
22
                         5.7.3   On or about May 10, 2007, at Berg’s direction, Defendants
23
                                 transferred $1,000,000 from MPM’s Commerce account, number
24
                                 ****2804, to Berg’s personal Commerce account, number ****9601.
25
26

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                         5.7.4   On or about May 30, 2007, Berg closed the purchase of his home on
2
                                 Mercer Island. Defendants recorded the deed of trust on the home that
3
                                 same day. That same day, at Berg’s direction, Defendants transferred
4
                                 $932,000 from Meridian Fund 6 account ****2898 to Meridian Fund
5
                                 6 account ****2812, and then back again. Then, that same day, at
6
                                 Berg’s direction, Defendants transferred $932,000 from Meridian
7
                                 Fund 6 account ****2812 to Chicago Title Insurance Company, the
8
                                 escrow officer for the sale of the home.
9
                   5.8   Because numerous accounts were maintained by the Meridian Funds, MPM,
10
      Berg and Berg’s related entities at Commerce, and because Berg regularly engaged in
11
      transactions involving the accounts at Commerce, Defendants assessed and earned
12
      thousands of dollars in banking fees and charges for their services. Due to the amount of
13
      money on deposit at Commerce and the profits Defendants enjoyed as a result of the
14
      banking activity involving the accounts of Meridian Funds, MPM, Berg, and Berg’s related
15
      entities, Defendants complicity was not without motive.               Defendants’ conduct was in
16
      violation of federal and state banking laws and regulations, as well as their own internal
17
      standards and code of business ethics and conduct.
18
                   5.9   By way of non-exclusive example, these standards are reflected in federal
19
      law and require banks to review accounts and transactions for suspicious circumstances and
20
      report these transactions to the Financial Crimes Enforcement Network (“FinCEN”). For
21
      example, 12 CFR 208.62 requires charter banks such as Commerce to monitor and report
22
      suspicious activity through the submission of a Suspicious Activity Report (“SAR”) any
23
      time the bank suspects that it “was used to facilitate a criminal transaction,” or that a
24
      transaction “involve[s] potential money laundering or violations of the Bank Secrecy Act
25
      (“BSA”).” Indeed, monitoring and reporting suspicious activity is a critical and routine
26

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      function of modern banks, and guidelines for identifying suspicious activity are numerous.
2
      In fact, under BSA Section 5318(g)(3), financial institutions are even insulated from liability
3
      for voluntarily disclosing this suspicious activity and, even absent suspicious activity, banks
4
      are nevertheless required to complete a Currency Transaction Report (“CTR”) for
5
      submission to FinCEN for any transaction over $10,000.
6
                   5.10   Further, effective BSA compliance requires financial institutions such as
7
      Defendants to implement their own programs to protect against fraud. These programs –
8
      known industry-wide as the “Four Pillars” – include: (1) designating a compliance officer to
9
      ensure ongoing compliance; (2) developing internal policies, procedures and controls; (3)
10
      implementing ongoing and relevant training on potentially fraudulent transactions and
11
      money laundering activities; and (4) independently testing and reviewing the efficacy of
12
      these programs.
13
                   5.11   On information and belief, Defendants (a) failed to adequately review the
14
      transactions and financial activity involving the Meridian Funds’ accounts, MPM’s accounts
15
      and Berg’s accounts, and (b) failed to develop, implement and follow an effective due
16
      diligence program as required by the BSA and as set forth in the Bank Secrecy Act/Anti-
17
      Money Laundering Examination Manual promulgated by the Federal Financial Institutions
18
      Examinations Council. In general, a due diligence program relates to a bank’s internal
19
      controls and the adequacy of those internal controls. Defendants’ failures include, but are
20
      not limited to, failure to develop and implement an effective due diligence program and
21
      policy relating to the review of financial transactions and account activity; failure to train
22
      employees on the due diligence program and policy; failure to ensure compliance with the
23
      due diligence program and policy; and implementing recommendations from auditors for
24
      improving the due diligence program and policy.
25
26

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                   5.12   The Bank Secrecy Act/Anti-Money Laundering Examination Manual
2
      provides “examples of potentially suspicious activities that should raise red flags for further
3
      investigation to determine whether the transactions or activities reflect illicit activities.”
4
      Defendants failed to adhere to bank regulations that required an ongoing and regular review
5
      of Berg’s accounts for suspicious activities that included, among other things, the following:
6
      (1) funds that stayed in accounts for very little time; (2) fund transfers sent or received from
7
      the same person (i.e., Berg); (3) unusual transfers of funds that occurred among related
8
      accounts or among accounts that involve the same or related principals; and (4) fund
9
      transfers sent in large, round dollar, hundred dollar, or thousand dollar amounts.
10
                   5.13   On information and belief, in addition to the foregoing, or in the alternative,
11
      Defendants disregarded and/or circumvented their own due diligence program(s) and
12
      policy(ies) and disregarded recommendations from auditors regarding improvement that
13
      could and/or should be made to the due diligence program(s) and policy(ies) in order to
14
      satisfy Berg’s demands.
15
                   5.14   On information and belief, Defendants’ internal code and standard of
16
      conduct, which is designated the Code of Business Conduct and Ethics for Employees,
17
      further mandates that Defendants’ employees must immediately report any potentially
18
      suspicious activity. The Code of Business Conduct and Ethics for Employees states, among
19
      other things, the following: “If you are unsure about the propriety or legality of an action,
20
      get appropriate guidance;” and “we expect you to act proactively, raising concerns about
21
      ethical issues, and reporting any conduct believed to be a violation [sic] this Code, any law
22
      or regulation or any Company policy or procedure is a clear requirement of employment.”
23
                   5.15   If Defendants had adhered to these regulations and their own internal
24
      policies, they would have stopped Berg’s fraud and breaches of fiduciary duties well before
25
      the Funds suffered their ultimate demise in the summer of 2010.
26

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                   5.16   As otherwise herein alleged, until September 2009 at the earliest, the
2
      Investors were unaware of Berg’s breaches of fiduciary duty and fraud and were further
3
      unaware of Defendants’ role in aiding and abetting that fraud, including being unaware of
4
      any damages suffered in connection therewith.             On information and belief, Berg’s
5
      systematic and continuous fraud existed for years, until finally – in or about June 2010 – the
6
      Funds failed to pay out the monthly interest payments as promised to its investors. The
7
      investors in the Meridian Funds thereafter forced the funds into Chapter 11 bankruptcy
8
      proceedings. All of the Funds have subsequently filed for bankruptcy and are consolidated
9
      in the Meridian Bankruptcy Proceedings. On or about July 27, 2010, Berg filed a personal
10
      bankruptcy petition in the matter of In re: Frederick Darren Berg, Case No. 10-18668 in
11
      this Bankruptcy Court for the Western District of Washington. In the months that followed
12
      the initiation of the Bankruptcy Proceedings, the factual basis for the claims against
13
      Defendants, as alleged herein, were first discovered by Plaintiffs.
14
                   5.17   The United States Attorney’s Office for the Western District of Washington
15
      subsequently arrested and charged Berg with crimes that ultimately defrauded investors out
16
      of more than $100 million in the case styled United States of America v. Frederick Darren
17
      Berg, Case No. CR10-0310RAJ pending in the United States District Court for the Western
18
      District of Washington. Berg subsequently pled guilty to one count of Wire Fraud, one
19
      count of Money Laundering, and one count of Bankruptcy Fraud. He was sentenced to 18
20
      years.
21
                   5.18   The elements of the offense of Wire Fraud in violation of 18 U.S.C. §1343
22
      with respect to Berg’s conduct are as follows: (1) Berg made up a scheme or plan for
23
      obtaining money or property by making false promises or statements; (2) Berg knew that the
24
      promises or statements were false; (3) the promises or statements were material, that is, they
25
      would reasonably influence a person to part with money or property; (4) Berg acted with the
26

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      intent to defraud; and (5) Berg used, or caused to be used, the wires in interstate or foreign
2
      commerce to carry out or attempt to carry out an essential part of the scheme. Berg
3
      admitted that he is guilty of the offense of Wire Fraud.
4
                   5.19   Berg, in his Plea Agreement, admitted that beginning sometime within the
5
      last ten years, and continuing until in or around August 2010, he knowingly and willfully
6
      devised and executed a scheme and artifice to defraud, and for obtaining money and
7
      property by means of material false and fraudulent pretenses, representations, and promises,
8
      including those made to Plaintiffs in connection with the Meridian Funds. Berg further
9
      admitted that the object of the scheme and artifice to defraud was to defraud investors
10
      (including Plaintiffs) by falsely representing that he was using all investor funds to purchase
11
      seller financed real estate contracts, real estate, and mortgage backed securities, and also to
12
      make hard money loans. During the course of the scheme Berg stole millions of dollars in
13
      investor funds, including funds belonging to Plaintiffs, which he used for his own benefit as
14
      well as to pay off earlier investors in order to conceal his false statements and continue his
15
      scheme to defraud.
16
                                VI.     FIRST CAUSE OF ACTION
17      (Aiding and Abetting Breach of Fiduciary Duty against Defendants Zions Bancorporation,
                              The Commerce Bank of Washington, N.A.)
18
                   6.1    Plaintiffs reallege all of their statements in the foregoing paragraphs 1.1
19
      through 5.19 as if set forth fully herein.
20
                   6.2    Berg: (i) was the majority or sole owner of the Meridian Funds; (ii) an
21
      employee, officer and director of the Meridian Funds; (iii) exercised control over the
22
      management, operation and investment decisions made on behalf of the Meridian Funds;
23
      (iv) was entrusted by Plaintiffs with funds and charged with the responsibility of investing
24
25    those funds for the benefit of Plaintiffs; (v) acted in the capacity of a trustee with respect to

26    Plaintiffs’ funds; and (vi) dominated and controlled MPM both before and after its

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      acquisition. As such, Berg owed fiduciary duties to Plaintiffs, including, among other
2
      things, duties of loyalty, fidelity, honesty, and integrity. In addition, Plaintiffs reposed trust
3
      and confidence in Berg, including but not limited to, entrusting Berg with substantial
4
      monies to invest on their behalf. Defendants knew Berg was a fiduciary of the investors in
5
      the Meridian Funds, including Plaintiffs.
6
                   6.3     As alleged herein, Berg breached his fiduciary duties owed to Plaintiffs by,
7
      among other acts and omissions, engaging in a fraudulent scheme resulting in the
8
      misappropriation of over $100 million in investor funds for his own personal use, including
9
      funds belonging to Plaintiffs. Berg’s conduct caused substantial financial harm and damage
10
      to Plaintiffs and continues to harm and damage Plaintiffs on a daily basis.
11
                   6.4     Defendants, on information and belief: (i) knew about the nature and purpose
12
      of the Meridian Funds and that Berg exercised exclusive control over the management,
13
      operation and investment decisions made on behalf of all the Funds; (ii) knew that the funds
14
      deposited in the Meridian Fund accounts at Commerce came from investors (iii) knew that
15
      Berg was engaged in a continuous pattern of transferring money into and out of fiduciary
16
      accounts held in the name of the Meridian Funds and MPM for the benefit of investors; (iv)
17
      knew that Berg would transfer funds from the Meridian Funds’ accounts to MPM and then
18
      transfer them into his personal accounts; (v) knew that Berg would transfer funds from the
19
      Meridian Funds’ accounts directly into his personal accounts; (vi) knew that monies
20
      originating from the Meridian Funds were being used by Berg for his personal use; and (vii)
21
      knew that Berg’s conduct was tortious and constituted a breach of his fiduciary duty to
22
      Plaintiffs.        These facts and circumstances, at a minimum, gave Defendants actual or
23
      constructive knowledge that Berg was engaged in a fraudulent scheme and breaching his
24
      fiduciary duties to investors in the Meridian Funds, including Plaintiffs.
25
26

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                   6.5   Defendants substantially assisted and/or encouraged Berg in breaching the
2
      fiduciary duties he owed to Plaintiffs by, among other things: (i) executing transactions and
3
      financial activity at Berg’s request and direction despite their actual or constructive
4
      knowledge of his fraud and breach of fiduciary duties; (ii) failing to adequately review the
5
      transactions and financial activity in connection with funds on deposit in the Meridian
6
      Funds and MPM accounts; (iii) failing to timely and effectively develop, implement,
7
      maintain and/or audit a due diligence program, including the training of employees,
8
      contractors and agents, designed to detect and report suspicious activity that might be
9
      indicative of financial crimes, including wire fraud; (iv) failing to develop internal policies,
10
      procedures, standards and guidelines regarding reporting suspicious activity and/or improper
11
      conduct, including by failing to properly train employees, contractors and agents, in
12
      connection with the detection and reporting of suspicious activity and improper conduct that
13
      might be indicative of financial crimes, including fraud; (v) failing to timely disclose to
14
      Plaintiffs that Berg was using funds belonging to the Meridian Funds for his personal use
15
      and private purposes; (vi) opening accounts for Berg and allowing him to deposit monies
16
      held in trust for Plaintiffs into his own personal accounts; (vii) permitting Berg to
17
      commingle monies held in trust for Plaintiffs with funds in Berg’s personal account; (viii)
18
      transferring and/or allowing Berg to regularly transfer large sums of monies held in trust for
19
      Plaintiffs indirectly and directly into Berg’s personal account and accounts of his related
20
      entities; and (ix) transferring and/or allowing Berg to regularly misappropriate large sums
21
      held in trust for Plaintiffs for Berg’s personal use and for the benefit of Berg’s related
22
      entities.
23
                   6.6   As a proximate result of the substantial assistance and/or encouragement
24
      provided by Defendants, Plaintiffs sustained damage, financial harm and losses in an
25
26

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      amount in excess of One Hundred Million Dollars, with an exact amount to be proven at
2
      trial.
3
                              VII. SECOND CAUSE OF ACTION
4     (Aiding and Abetting Fraud against Defendants Zions Bancorporation, The Commerce Bank
                                        of Washington, N.A.)
5
                   7.1   Plaintiffs reallege all of their statements in the foregoing paragraphs 1.1
6
      through 5.19 as if set forth fully herein.
7
                   7.2   Berg: (i) was the majority or sole owner of the Meridian Funds; (ii) an
8
      employee, officer and director of the Meridian Funds; (iii) exercised control over the
9
      management, operation and investment decisions made on behalf of the Meridian Funds;
10
      (iv) was entrusted by Plaintiffs with funds and charged with the responsibility of investing
11
      those funds for the benefit of Plaintiffs; (v) acted in the capacity of a trustee with respect to
12
      Plaintiffs’ funds; and (vi) dominated and controlled MPM both before and after its
13
      acquisition.
14
                   7.3   As alleged herein, Berg engaged in a fraudulent scheme resulting in the
15
      misappropriation over $100 million in investor funds for his own personal use, including
16
      funds belonging to Plaintiffs. Berg’s conduct caused substantial financial harm and damage
17
      to Plaintiffs and continues to harm and damage Plaintiffs on a daily basis.
18
                   7.4   Defendants, on information and belief: (i) knew about the nature and purpose
19
      of the Meridian Funds and that Berg exercised exclusive control over the management,
20
      operation and investment decisions made on behalf of all the Funds; (ii) knew that the funds
21
      deposited in the Meridian Fund accounts at Commerce came from investors (iii) knew that
22
      Berg was engaged in a continuous pattern of transferring money into and out of fiduciary
23
      accounts held in the name of the Meridian Funds and MPM for the benefit of investors; (iv)
24
25    knew that Berg would transfer funds from the Meridian Funds’ accounts to MPM and then

26    transfer them into his personal accounts; (v) knew that Berg would transfer funds from the

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      Meridian Funds’ accounts directly into his personal accounts; (vi) knew that monies
2
      originating from the Meridian Funds were being used by Berg for his personal use; and (vii)
3
      knew that Berg’s conduct was tortious and constituted a breach of his fiduciary duty to
4
      Plaintiffs.        These facts and circumstances, at a minimum, gave Defendants actual or
5
      constructive knowledge that Berg was engaged in a fraudulent scheme and breaching his
6
      fiduciary duties to investors in the Meridian Funds, including Plaintiffs.
7
                   7.5     Defendants substantially assisted and/or encouraged Berg in committing
8
      fraud, among other things: (i) executing transactions and financial activity at Berg’s request
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      and direction despite their actual or constructive knowledge of his fraud and breach of
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      fiduciary duties; (ii) failing to adequately review the transactions and financial activity in
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      connection with funds on deposit in the Meridian Funds and MPM accounts; (iii) failing to
12
      timely and effectively develop, implement, maintain and/or audit a due diligence program,
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      including the training of employees, contractors and agents, designed to detect and report
14
      suspicious activity that might be indicative of financial crimes, including wire fraud; (iv)
15
      failing to develop internal policies, procedures, standards and guidelines regarding reporting
16
      suspicious activity and/or improper conduct, including by failing to properly train
17
      employees, contractors and agents, in connection with the detection and reporting of
18
      suspicious activity and improper conduct that might be indicative of financial crimes,
19
      including fraud; (v) failing to timely disclose to Plaintiffs that Berg was using funds belongs
20
      to the Meridian Funds for his personal use and private purposes; (vi) opening accounts for
21
      Berg and allowing him to deposit monies held in trust for Plaintiffs into his own personal
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      accounts; (vii) permitting Berg to commingle monies held in trust for Plaintiffs with funds
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      in Berg’s personal account; (viii) transferring and/or allowing Berg to regularly transfer
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      large sums of monies held in trust for Plaintiffs indirectly and directly into Berg’s personal
25
26    account and accounts of his related entities; and (ix) transferring and/or allowing Berg to

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      regularly misappropriate large sums monies held in trust for Plaintiffs for Berg’s personal
2
      use and for the benefit of Berg’s related entities.
3
                   7.6   As a proximate result of the substantial assistance and/or encouragement
4
      provided by Defendants, Plaintiffs sustained damage, financial harm and losses in an
5
      amount in excess of One Hundred Million Dollars, with an exact amount to be proven at
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      trial.
7
                                                X.     PRAYER
8
                    WHEREFORE, Plaintiffs pray for relief and judgment as follows:
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                    1.   Awarding monetary damages against Defendants, in favor of Plaintiffs, for all
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       losses and damages suffered as a result of the wrongdoings alleged herein, with the exact
11
       amount to be proven at trial;
12
                   2.    All fees and expenses incurred in this action by Plaintiffs, including but
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      not limited to a reasonable allowance of fees for Plaintiffs’ attorneys and experts; and
14
                   3.    Such other and further relief as the Court may deem just and proper.
15

16
                                         XI.          JURY DEMAND
17
         Plaintiffs demand a trial by jury on all causes so triable.
18
                   DATED: August 29, 2012
19                                                     FOSTER PEPPER PLLC
20
                                                              /s/ Jane Pearson
21                                                     Jane Pearson, WSBA #12785
                                                       Attorneys for Plaintiffs
22
                                                       EAGAN AVENATTI, LLP
23
24                                                            /s/ Michael J. Avenatti
                                                       Michael J. Avenatti (Pro Hac Vice)
25
                                                       Attorneys for Plaintiffs
26

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